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                                      #:652


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      Attorneys for Defendants Boaraof Trustees of the
  7   California State University
  8                     IN THE UNITED STATES DISTRICT COURT
  9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
 11
 12
      EDWIN HAMID NAHAVANDI,                        2:24-cv-03791 RGK(Ex)
 13
                                      Plaintiff, DISCOVERY MATTER:
 14                                              DECLARATION OF CRISTINA M.
                  v.                             MATSUSIDMA IN SUPPORT OF
 15                                              DEFENDANT'S MOTION FOR
                                                 SANCTIONS AND RE
 16   BOARD OF TRUSTEES OF THE                   PLAINTIFF'S FAILURE TO SIGN
      CALIFORNIA STATE                           JOINT STIPULATION
 17   UNIVERSITY (the State of
      California acting in its higher            Date:         March 28, 2025
 18   education capacity),                       Time:         9:30 a.m.
                                                 Courtroom: 750
 19                                Defendant. Judge:           Magistrate Judge
                                                               Charles F. Eicl<:
 20
                                                 Discovery Cutoff: A~ril 11, 2025
 21                                              Pretrial Conference: June 23, 2025
                                                 Trial Date: July 8, 2025
                                                 Action Filed: May 7, 2024
 22   -------------~
 23
 24        I, Cristina M. Matsushima, declare as follows:
 25        1.   I am an attorney at law licensed to practice before all courts of the State
 26   of California, including the United States District Court for the Central District of
 27   California. I am a Deputy Attorney General with the Health, Education, and
 28   Welfare Section of the Civil Division of the California Attorney General's Office. I

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  1   am one of the attorneys assigned to represent Defendant Board of Trustees of the
  2   California State University (CSU) in the above-referenced matter.
  3        2.    This declaration is based on my personal knowledge and experience,
  4   unless otherwise stated.
  5        3.    On December 18, 2024, Magistrate Judge Charles F. Eick ruled on
  6   Defendant's Motion to Compel Plaintiffs (1) Initial Disclosures, (2) Responses to
  7   Interrogatories, and (3) Responses o Requests for Production of Documents. A true
  8   and correct copy of Magistrate Judge Charles F. Eick's December 18, 2024, Civil
  9   Minutes (Discovery Order, ECF 67) is included as Exhibit A.
 10        4.    Pursuant to the Discovery Order, "Plaintiffs failure timely to serve
 11   responses to the interrogatories or to the requests for production waived all
 12   potential objections thereto." Ex. A, p. 1.
 13        5.    Pursuant to the Discovery Order, CSU's interrogatories consist of
 14   "nonprivileged matter that is relevant to any party's claim or defense and
 15   proportional to the needs of the case," within the meaning of Rule 26(b)(l) of the
 16   Federal Rules of Civil Procedure. Ex. A, pp. 1-2.
 17        6.    Pursuant to the Discovery Order, Plaintiff was ordered, in relevant part,
 18   to "serve written Rule 26(a) initial disclosures" and "serve without objection
 19   verified answers to the subject interrogatories[.]" Ex. A, p. 2. The Magistrate
 20   Judge further "cautioned" Plaintiff that "failure timely to comply fully with this
 21   Order may result in the imposition of drastic sanctions, including, without
 22   limitation, the dismissal of this action." Id. at p. 3.
 23        7.    A true and correct copy of Plaintiffs Written Disclosures, dated January
 24   17, 2025, is included as Exhibit B.
 25        8.    A true and correct copy of Defendant's Special Interrogatories (Set 1) to
 26   Plaintiff, dated October 8, 2024, is included as Exhibit C.
 27        9.    A true and correct copy of Plaintiffs Responses in Support of
 28   Interrogatories, dated January 17, 2025, is included as Exhibit D.
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  1         10. On or around January 27, 2025, I e-mailed written meet and confer
  2   correspondence to Plaintiff regarding his deficient discovery responses and
  3   requesting an in-person conference. A true and correct copy ofCSU's Request for
  4   Prefiling Conference correspondence, dated January 27, 2025, is included as
  5   Exhibit E.
  6         11. Plaintiff did not respond in writing to my January 27, 2025, e-mail and
  7   letter.
  8         12. On January 29, 2025, after concluding Plaintiffs in-person deposition, I
  9   conferred with Plaintiff regarding his deficient discovery responses. I explained
 10   that because Plaintiffs discovery responses were grossly deficient, CSU was unable
 11   to fully evaluate Plaintiffs allegations, CSU' s own potential defenses, or any
 12   potential for resolution. I expressly noted that Plaintiffs discovery responses
 13   merely refer to his own unverified Complaint and other court filings, which fails to
 14   comply with the Federal Rules of Civil Procedure, specifically because a response
 15   cannot vaguely reference a document without specifying which portion of the
 16   document contains the responsive information. I stated that failure to provide Rule-
 17   compliant responses could result in severe sanctions, including dismissal of this
 18   lawsuit. I asked Plaintiff if he would amend his responses, or whether he intended
 19   to rely wholly on his prior court filings. He confirmed that he was relying on his
 20   filings, including his Complaint.
 21         13. During our in-person conference on January 29, 2025, I told Plaintiff that
 22   CSU would not pursue a motion for sanctions until after mediation so the parties
 23   could focus on potential resolution.
 24         14. The parties attended a virtual mediation on February 6, 2025, but did not
 25   resolve this matter.
 26         15. On February 6, 2025, Plaintiff e-mailed me a letter requesting a Pre-
 27   Filing Conference. In his letter he alleges, in part, that the Department of Justice
 28   (in its capacity as CSU's counsel of record) had engaged in "improper advocacy
                                                3
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  1   and intentional purpose to harass" him; that the DOJ "intentionally committed a
  2   felony" by asserting Eleventh Amendment immunity on behalf of CSU in the
  3   course of this litigation; that the DOJ had sought to "influence a judge or other
  4   official by means prohibited by law;" and that DOJ "counsel ... could,
  5   individually, be subject to a lawsuit." Plaintiff further stated that CSU filing a
  6   motion for sanctions "would be seen as another intentional attempt of bad faith, and
  7   will be documented for future referencing to the appropriate entities." A true and
  8   correct copy of Plaintiffs letter, dated February 6, 2025, is included as Exhibit F.
  9           16. On February 13, 2025, I e-mailed Plaintiff a responsive letter seeking
 10   clarification of the purpose of Plaintiffs requested Pre-Filing Conference and
 11   disputing his allegations. A true and correct copy ofmy letter, dated February 13,
 12   2025, is included as Exhibit G.
 13           17. On February 13, 2025, I also separately e-mailed CSU's portions of the
 14   Joint Stipulation and Exhibits A through Gin support of its Motion for Sanctions.
 15   A true and correct copy ofmy e-mail to Plaintiff is included as Exhibit H.
 16           18. Plaintiff did not provide his portion of the Joint Stipulation. Instead,
 17   Plaintiff provided a separate 62-page response (including exhibits). A true and
 18   correct copy of Plaintiffs Joint Stipulation Response is included as Exhibit I.
 19   / / /
 20   II I
 21   / / /
 22   II I
 23   II I
 24   II I
 25   II I
 26   II I
 27   II I
 28   / / /
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  1        19. On February 24, 2025, I e-mailed Plaintiff the final version of the Joint
  2   Stipulation and requested his signature, pursuant to Local Rule 37-2.2. Plaintiff
  3   declined to the Joint Stipulation, and instead responded with an e-mail. A true and
  4   correct copy of my e-mail exchange with Plaintiff, dated February 24-25, 2025, is
  5   included as Exhibit J.
  6          I declare under penalty of perjury under the laws of the United States that the
  7   foregoing is true and correct.
  8          Executed this 25th day of February 2025, at Los Angeles, California
  9
 10
 11
 12                                                 Deputy Attorney General IV
      LA2024302735
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                           Moving Party's

                           EXHIBIT A
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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL



  Case No.       CV 24-3791-RGK(Ex)                                  Date    December 18, 2024

  Title          EDWIN HAMID NAHAVANDI v. BOARD OF TRUSTEES OF THE
                 CALIFORNIA STATE UNIVERSITY, ET AL.




  Present: The Honorable     Charles F. Eick, United States Magistrate Judge

          Valencia Munroe                       None                              None
           Deputy Clerk                Court Reporter/Recorder                   Tape No.

          Attorneys Present for Plaintiffs:               Attorneys Present for Defendants:
                      None                                              None

  Proceedings:          (IN CHAMBERS)


        The Magistrate Judge has read and considered all papers filed in support of and in
 opposition to "Defendant's Motion to Compel, etc." ("the Motion"), filed December 5, 2024.
 The previously noticed January 3, 2025 hearing is vacated. The Magistrate Judge has taken the
 Motion under submission without oral argument.

          Plaintiff has not yet served written initial disclosures in compliance with Rule 26(a) of
 the Federal Rules of Civil Procedure. See "Declaration of Cristina M. Matsushima, etc.," filed
 December 5, 2024. Plaintiff failed timely to serve any responses to Defendant's "Special
 Interrogatories (Set 1)" or to Defendant's "Request for Production (Set 1)." See id. In the
 Motion, Defendant seeks an order that Plaintiff serve within seven (7) days "verified written
 [initial] disclosures," "verified responses" to the interrogatories and "verified responses and a
 production of responsive documents" as to the requests for production. See "[Proposed] Order
 Granting Defendant's Motion to Compel," filed December 5, 2024.

         Rule 26(a) requires the service of written initial disclosures described therein. Plaintiff
 has not yet met this requirement. Plaintiff's failure timely to serve responses to the
 interrogatories or to the requests for production waived all potential objections thereto. See
 Richmark Corp. v. Timberfalling Consultants, 959 F.2d 1468, 1473 (9th Cir), cert. denied, 506
 U.S. 948 (1992) (failure timely to respond to discovery requests waives all potential objections,
 including potential privilege objections). In any event, the Magistrate Judge has reviewed all of
 the subject interrogatories and requests for production and has found that the requested discovery



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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL



  Case No.       CV 24-3791-RGK(Ex)                                 Date     December 18, 2024

  Title          EDWIN HAMID NAHAVANDI v. BOARD OF TRUSTEES OF THE
                 CALIFORNIA STATE UNIVERSITY, ET AL.


 consists of "nonprivileged matter that is relevant to any party's claim or defense and proportional
 to the needs of the case," within the meaning of Rule 26(b)(l) of the Federal Rules of Civil
 Procedure.

          Plaintiff argues that Defendant has failed to comply with its own discovery obligations.
 Such argument presents a non sequitur in the context of the present Motion. See, e.g., Harrison
 v. Comm'r Gary Lanigan, 2016 WL 3626524, at *2 (D. N.J. July 1, 2016) ("there is no place for
 'tit-for-tat' in a court oflaw. One party's failure to comply with certain rules and procedures is
 not an excuse for another party to do the same"); Genentech, Inc. v. Trustees of University of
 Pennsylvania, 2011 WL 7074208, at *1 (N.D. Cal. June 10, 2011) ("A party may not excuse its
 failure to comply with discovery obligations by claiming that its opposing party is similarly
 delinquent. Nor may a party condition its compliance with discovery obligations on receiving
 discovery from its opponent.") (citations and quotations omitted); see also Fed. R. Civ. P.
 26(a)(l)(E).

         Plaintiff also appears to express strongly held beliefs that his claims against Defendant in
 this action are meritorious and that Defendant has no valid defense thereto. Plaintiff's views
 regarding the merits of the case do not relieve Plaintiff of his discovery obligations. See, e.g.,
 Third Pentacle, LLC v. Interactive Life Forms, LLC, 2012 WL 27473, at *3 (S.D. Ohio Jan. 5,
 2012) ("Although [the plaintiff] presently holds a strong belief in the merits of its litigation
 positions, its strong belief - whether ultimately justified or not - provides no basis for avoiding
 its discovery obligations created by the Federal Rules of Civil Procedure"). Similarly,
 challenges to the factual or legal viability of an opposing party's claims, defenses or theories
 ordinarily do not affect the proper scope of discovery. See Fed. R. Civ. P. 26(b); see also
 Williams v. Hargrove, 2017 WL 11454716, at *1 (S.D. Miss. April 12, 2017); Celanese Corp. v.
 Clariant Corp., 2016 WL 1074573, at *4-5 (N.D. Tex. March 18, 2016); Third Pentacle, LLC v.
 Interactive Life Forms, LLC, 2012 WL 27473, at *3 (C.D. Ohio Jan. 5, 2012); see generally 8
 Wright, Miller & Marcus, Federal Practice and Procedure§ 2008, p. 137 (3d ed. 2010)
 ("Discovery is not to be denied because it relates to a claim or defense that is being challenged as
 insufficient").

         Accordingly, it is ordered that, on or before January 17, 2025, Plaintiff must: (1) serve
 written Rule 26(a) initial disclosures; (2) serve without objection verified answers to the subject
 interrogatories; and (3) without objection make available to Defendant for inspection and
 copying all documents within Plaintiff's possession, custody or control responsive to the subject



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                       CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL



  Case No.       CV 24-3791-RGK(Ex)                                    Date   December 18, 2024

  Title          EDWIN HAMID NAHAVANDI v. BOARD OF TRUSTEES OF THE
                 CALIFORNIA STATE UNIVERSITY, ET AL.


 requests for production. Plaintiff is cautioned that failure timely to comply fully with this Order
 may result in the imposition of drastic sanctions, including, without limitation, the dismissal of
 this action.

        Except as expressly stated herein, the Motion is denied. The seven-day deadline
 requested by Defendant for compliance is unnecessarily short. Initial disclosures and responses
 to requests for production (as distinguished from answers to interrogatories) need not be verified.
 See Fed. R. Civ. P. 26, 34; Trust Labs, Inc., 2023 WL 2949158, at *1 (N.D. Cal. April 13, 2023).
 Given Plaintiffs waiver of all potential objections to the subject requests for production, and the
 Magistrate Judge's order that Plaintiff make available for inspection and copying all documents
 responsive to the subject requests for production, written responses to the subject requests for
 production would appear to serve little or no purpose.

         Lastly, Plaintiffs request for "protective orders" is denied because the request is
 procedurally improper and because Plaintiff has failed to demonstrate "good cause" for any such
 relief. See Fed. R. Civ. P. 26(c); L.R. 37.




 cc:      Judge Klausner
          Plaintiff
          All Counsel of Record

                                                                  Initials of Deputy Clerk VMUN




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                           Moving Party's

                           EXHIBITB
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 3 Telephone: (818) 569-9673
 4 Email: edwin.nahavandi@gmail.com

 5 Plaintiff in pro per

 6

 7

 8

 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                   WESTERN DIVISION
12

13 EDWIN HAMID NAHAVANDI                                Case No. 2:24-cv-03791-RGK(EX)
14                               Plaintiff(s),          WRITTEN DISCLOSURES
15         vs.

16 BOARD OF TRUSTEES OF THE
17 CALIFORNIA STATE UNIVERSITY
     (the State of California acting in its higher
18 education capacity); ERIKA DREW
19 BECK, in her official capacity as President
     of California State University, Northridge;
20   ZEINA OTAKY RAMIREZ, in her
21   official capacity as Director of Student
     Conduct and Ethical Development at
22
     California State University, Northridge;
23   WILLIAM WATKINS, in his official
24   capacity as Vice President of Student
     Affairs at California State University,
25   N orthridge
26                               Defendant(s).
27

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                                                 - 1-
                                       WRITTEN DISCLOSURES
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 1 WRITTEN DISCLOSURES

 2    The entities along with the subjects of that information as characterized by
 3   Plaintiffs given information towards case number 2:24-cv-03791 serves as the true
 4   disclosure. Defendant CSU has records pertaining to this information under their
 5   control and custody, for possession.
 6 MONETARY DAMAGES

 7   1) Federally Funded Aid
 8      A) Pell Grant - $2081
 9         • Calculated by previous grants, see Exhibits, (2081 + 2081) + 2 = 2081
10      B) Rehabilitation Grant - $2443.61
11         • Calculated by previous grants, see Exhibits, (2167 + 219 .61 + 2281 +
12            219.61) + 2 = 2443 .61
13   2) Jewish Religious Items
14      A) Kippah and Tefellin - $505
15         • Calculated by Jewish public sources
16

17                                       DATED: J / 17 /l~
18                                       Signature: EA w •h No. ho. Vo.. h   i
19                                       Plaintiff in Pro Per
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                                       WRITTEN DISCLOSURES
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                           Moving Party's

                           EXHIBIT C
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  7   Attorneys for Defendants Boaraof Trustees of the
      California State University
  8
  9                       IN THE UNITED STATES DISTRICT COURT
 10                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11
 12
 13
      EDWIN HAMID NAHAVANDI,                          2:24-cv-03791-RGK-MRWx
 14
                                       Plaintiff, DEFENDANT'S SPECIAL
 15                                               INTERROGATORIES (SET 1) TO
                    v.                            PLAINTIFF
 16
 17   BOARD OF TRUSTEES OF THE
      CALIFORNIA STATE
 18   UNIVERSITY (the State of
      California acting in its higher
 19   education capacity),
20                                   Defendant.
21
      PROPOUNDING PARTY:               Defendant Board of Trustees of the California
22                                     State University
23
      RESPONDING PARTY:                Plaintiff Edwin Hamid N ahavandi
24
      SET:                              One
25
26           Defendant Board of Trustees of the California State University requests that
27    plaintiff Edwin Hamid Nahavandi answer the following interrogatories within thirty
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  1   (30) days and in accordance with the provisions of Federal Rules of Civil
  2   Procedure, rule 33.
  3                                         DEFINITIONS
  4         The following definitions apply to each interrogatory below and are deemed
  5   to be incorporated in each interrogatory:
  6          1. "PLAINTIFF," "YOU," and "YOUR" includes plaintiff Edwin Hamid
  7   Nahavandi and his agent(s), attorney(s), and/or representative(s).
  8         2. "COMPLAINT" means the operative COMPLAINT in the matter of
  9   Nahavandi v. CSU, et al., United State District Court, Central District of California,
 10   Case No. 2:24-cv-03791-RGK-MRWx, filed on May 7, 2024.
 11         3. "CSU" means defendant Board of Trustees of the California State
 12   University, including its employees, agents, and legal representatives.
 13         4. "CSUN" means California State University, Northridge.
 14         5. "BECK" means former defendant Erika Drew Beck, President of CSUN.
 15         6. "RAMIREZ" means former defendant Zeina Otaky Ramirez, Assistant
 16   Dean of Students and Director of Student Conduct and Ethical Development at
 17   CSUN.
 18         7. "WATKINS"means former defendant William Watkins, Vice President of
 19   Student Affairs at CSUN.
20          8.   "IDENTIFY," with respect to a person (including any natural person,
21    corporation, limited liability company, partnership, or association), means describe
22    the person's name, address, and telephone number.
23          9. "E-MAIL" includes the e-mail message and any attachments.
24           10. "RELATING TO" means containing, constituting, considering,
25    comprising, concerning, discussing, regarding, describing, reflecting, studying,
26    commenting or reporting on, mentioning, analyzing, or referring, alluding, or
27    pertaining to, in whole or in part.
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  1           11. "STATE ALL FACTS" means to describe in detail each and every fact
  2   and/or circumstance which YOU contend supports or forms any part of the basis for
  3   YOUR response, including dates, times, locations, circumstances, and names of
  4   people.
  5                                INTERROGATORIES
  6   INTERROGATORY NO. 1.
  7        IDENTIFY YOUR roommate(s), as referenced in paragraphs 10 through 15,
  8   49, and 99 of the COMPLAINT.
  9   INTERROGATORY NO. 2.
 10        STATE ALL FACTS in support of YOUR allegation that YOU experienced
 11   Antisemitic rhetoric and harassment from YOUR roommate(s).
 12   INTERROGATORY NO. 3.
 13        IDENTIFY all CSU faculty and staff who YOU allege harassed, threatened,
 14   and/or discriminated against YOU based on YOUR race, religion, and/or national
 15   ongm.
 16   INTERROGATORY NO. 4.
 17        If YOU contend that CSU retaliated against YOU due to YOUR race, religion,
 18   or national origin, STATE ALL FACTS in support of YOUR contention.
 19   INTERROGATORY NO. 5.
20         IDENTIFY all CSU students who YOU allege harassed, threatened, or
21    discriminated against YOU based on YOUR race, religion, and/or national origin.
22    INTERROGATORY NO. 6.
23         STATE ALL FACTS in support of YOUR assertion in paragraph 38 of the
24    COMPLAINT that YOU were worried RAMIREZ and the Office of the Vice
25    President for Student Affairs "might refuse to enforce the CSU's policies, and
26    retaliate back[.]"
27
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  1   INTERROGATORY NO. 7.
  2        STATE ALL FACTS in support of YOUR contention that a CSU student
  3   "wanted to physically harm" YOU, YOUR "Jewish religion and community, and
  4   place of worship, which has children," as referenced in paragraph 38 of the
  5   COMPLAINT.
  6   INTERROGATORY NO. 8.
  7        STATE ALL FACTS in support of YOUR contention that YOU received
  8   death threats from a CSU student.
  9   INTERROGATORY NO. 9.
 10        IfYOU allege that YOU were subjected to antisemitic discrimination,
 11   harassment, or hate speech, STATE ALL FACTS in support of YOUR contention,
 12   including a description of the action itself, contents of such speech, the actor or
 13   speaker, and the time and location of the interaction.
 14   INTERROGATORY NO. 10.
 15        STATE ALL FACTS in support of YOUR contention that YOU were "scared
 16   to go into campus at night due to the fear of being harmed," as alleged in paragraph
 17   47 of the COMPLAINT.
 18   INTERROGATORY NO. 11.
 19        STATE ALL FACTS in support of YOUR allegations that CSU prevented
20    YOU from filing complaints and/or reports regarding antisemitic harassment and
21    discrimination.
22    INTERROGATORY NO. 12.
23         STATE ALL FACTS in support of YOUR allegation that YOUR kippah and
24    tefillin were stolen, as alleged in paragraph 50 of the COMPLAINT.
25    INTERROGATORY NO. 13.
26         STATE ALL FACTS in support of YOUR contention that CSUN "allow[ed]
27    Antisemitism," as stated in paragraph 55 of the COMPLAINT.
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  1   INTERROGATORY NO. 14.
  2        STATE ALL FACTS RELATING TO the "Antisemitic attacks towards
  3   Jewish people" referenced in paragraph 57 of the COMPLAINT.
  4   INTERROGATORY NO. 15.
  5        STATE ALL FACTS RELATING TO YOUR meeting with
  6   WATKINS, as referenced in paragraph 60 of the COMPLAINT.
  7   INTERROGATORY NO. 16.
  8        STATE ALL FACTS RELATING TO YOUR discussion(s) with Jodi
  9   Johnson, as referenced in paragraph 62 of the COMPLAINT.
 10   INTERROGATORYNO.17.
 11        STATE ALL FACTS RELATING TO YOUR interaction with Marilyn
 12   Mendoza, as referenced in paragraph 65 of the COMPLAINT.
 13   INTERROGATORY NO. 18.
 14        STATE ALL FACTS RELATING TO YOUR interaction with
 15   Executive Assistant Robin Ferguson, as referenced in paragraph 66 of the
 16   COMPLAINT.
 17   INTERROGATORY NO. 19.
 18        STATE ALL FACTS RELATING TO YOUR contention that CSU chose "not
 19   to accommodate Plaintiff for his fears, worries, and stress from the members of the
20    University," as alleged in paragraph 74 of the COMPLAINT.
21    INTERROGATORY NO. 20.
22         STATE ALL FACTS in support of YOUR contention that CSU's actions or
23    inactions negatively impacted YOUR participation and experience in the MBA
24    program, as alleged in paragraph 74 of the COMPLAINT.
25    INTERROGATORY NO. 21.
26         STATE ALL FACTS in support of YOUR allegation that Professor Thomas
27    Wedel utilized inappropriate examples of YOUR "situation" in the Systems and
28
                                              5
Case 2:24-cv-03791-RGK-E      Document 79-1 Filed 02/25/25       Page 19 of 117 Page
                                     ID #:670


  1   Operations Management course, as alleged in paragraphs 75 and 76 of the
  2   COMPLAINT.
  3   INTERROGATORY NO. 22.
  4        STATE ALL FACTS in support ofYOUR allegation that CSU engaged in
  5   "retaliatory and discriminatory conduct against [YOU] for reporting students who
  6   were cheating, reporting their faculties misconduct, participating in religious
  7   activities, rightfully protesting against Antisemitism, and for reporting a faculty
  8   member to the [United States Department of Education Office of Civil Rights], by
  9   harassing, threatening, disciplining, and punishing [YOU] through charges of
 10   violation, suspension, and probation in an attempt to prevent [YOU] from ever
 11   engaging in the participation of [YOUR] protected activities," as alleged in
 12   paragraph 90 of the COMPLAINT.
 13   INTERROGATORY NO. 23.
 14        STATE ALL FACTS in support of YOUR allegation that CSU marked YOU
 15   as a "high-level threat," as alleged in paragraph 91 of the COMPLAINT.
 16   INTERROGATORY NO. 24.
 17        STATE ALL FACTS in support of YOUR allegation that CSU created a
 18   "hostile environment," as alleged in paragraph 105 of the COMPLAINT.
 19
      Date: October 8, 2024                         Respectfully submitted,
20
                                                    ROBBONTA
21                                                   Attorney General of California
                                                    BENJAMIN G. DIEHL
22                                                   Supervising Deputy Attorney General
23
24                                                    G
                                                     ANDREW Z. EDELSTEIN
25                                                   CRISTINA M. MATSUSHIMA
                                                    Deputy Attorneys General
26                                                  Attorneys for Defendants
      LA2024302735
27    67106239.docx

28

                                                6
Case 2:24-cv-03791-RGK-E            Document 79-1 Filed 02/25/25                Page 20 of 117 Page
                                           ID #:671


                   DECLARATION OF SERVICE BY ELECTRONIC SERVICE

Case Name:      Nahavandi v. Board of Trustees of the CSU, et al.
Case No.:       2:24-cv-03791-RGK-MRWx

I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the California
State Bar, at which member's direction this service is made. I am 18 years of age or older and not a party
to this matter.

On October 8, 2024, I served the attached DEFENDANT'S SPECIAL
INTERROGATORIES (SET 1) TO PLAINTIFF by transmitting a true copy via
electronic mail addressed as follows:



Edwin Hamid Nahavandi
5710 Comanche Ave.
Woodland Hills, CA. 91367
Email: edwin.nahavandi@gmail.com



I declare under penalty of perjury under the laws of the State of California and the United States of
America the foregoing is true and correct and that this declaration was executed on October 8, 2024, at
Los Angeles, California.

                  G. Agcaoili                                        Isl G. Agcaoili
                   Declarant                                                 Signature
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 21 of 117 Page
                                  ID #:672




                           Moving Party's

                       EXHIBITD
Case 2:24-cv-03791-RGK-E        Document 79-1 Filed 02/25/25        Page 22 of 117 Page
                                       ID #:673



 1 Edwin Hamid Nahavandi
 2 5710 Comanche Ave.
   Woodland Hills, CA. 91367
 3 Telephone: (818) 569-9673
 4 Email: edwin.nahavandi@gmail.com

 5 Plaintiff in pro per

 6

 7

 8

 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                   WESTERN DIVISION
12

13 EDWIN HAMID NAHAVANDI                                Case No. 2:24-cv-03791-RGK(EX)
14                               Plaintiff(s),          RESPONSES IN SUPPORT OF
15         vs.                                          INTERROGATORIES

16 BOARD OF TRUSTEES OF THE
17 CALIFORNIA STATE UNIVERSITY
     (the State of California acting in its higher
18 education capacity); ERIKA DREW
19 BECK, in her official capacity as President
     of California State University, Northridge;
20   ZEINA OTAKY RAMIREZ, in her
21   official capacity as Director of Student
     Conduct and Ethical Development at
22
     California State University, Northridge;
23   WILLIAM WATKINS, in his official
24   capacity as Vice President of Student
     Affairs at California State University,
25   N orthridge
26                               Defendant(s).
27

28

                                                 - 1-
                             RESPONSES IN SUPPORT OF INTERROGATORIES
Case 2:24-cv-03791-RGK-E        Document 79-1 Filed 02/25/25       Page 23 of 117 Page
                                       ID #:674



 1                         RESPONSES TO INTERROGATORIES
 2   RESPONSE TO INTERROGATORY NO. 1
 3    Plaintiff, a witness to the events, provides this response based on either his current
 4   recollection, memory, and information reasonably available, or its entirety. Both
 5 roommates were pronounced as "KRIS-chen", as their names reflect on such

 6   contextual pronunciation towards their legal names. Defendant CSU has records
 7   pertaining to this information under their control and custody, for possession, of all
 8 Plaintiff's roommates contextually pronounced as "KRIS-chen".

 9   RESPONSE TO INTERROGATORY NO. 2
10    Plaintiff provides this response based on either his current recollection, memory,
11   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
12 specifically emphasizes that his claims are not an allegation, as characterized by this

13   interrogatory, but rather is factual. On the basis of Plaintiff's previously stated
14 emphasis aforementioned above, the claims in Plaintiffs Complaint serve as the true

15 integrity of the response to this interrogatory.
16 RESPONSE TO INTERROGATORY NO. 3

17    Plaintiff provides this response based on either his current recollection, memory,
18 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

19 specifically emphasizes that his claims are not an allegation, as characterized by this

20   interrogatory, but rather is factual. On the basis of Plaintiff's previously stated
21   emphasis aforementioned above, the entities in Plaintiffs Complaint serve as the true
22   integrity of the response to this interrogatory.
23   RESPONSE TO INTERROGATORY NO. 4
24    Plaintiff provides this response based on either his current recollection, memory,
25   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
26 specifically reaffirms to the entirety of all his given information towards case number

27   2:24-cv-03791 as the true integrity of the response to this interrogatory.
28

                                                 -2-
                             RESPONSES IN SUPPORT OF INTERROGATORIES
Case 2:24-cv-03791-RGK-E       Document 79-1 Filed 02/25/25        Page 24 of 117 Page
                                      ID #:675



 1 RESPONSE TO INTERROGATORY NO. 5

 2    Plaintiff provides this response based on either his current recollection, memory,
 3 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

 4   specifically emphasizes that his claims are not an allegation, as characterized by this
 5 interrogatory, but rather is factual. On the basis of Plaintiffs previously stated

 6   emphasis aforementioned above, Plaintiff specifically reaffirms to the entirety of all
 7   his given information towards case number 2:24-cv-03791 as the true integrity of the
 8 response to this interrogatory.

 9   RESPONSE TO INTERROGATORY NO. 6
1O    Plaintiff provides this response based on either his current recollection, memory,
11   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
12 specifically emphasizes that his claims are not an allegation, as characterized by this

13   interrogatory, but rather is factual. On the basis of Plaintiff's previously stated
14 emphasis aforementioned above, Plaintiff specifically reaffirms that his Complaint

15 serves as the true integrity of the response to this interrogatory.
16 RESPONSE TO INTERROGATORY NO. 7

17    Plaintiff provides this response based on either his current recollection, memory,
18 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

19 specifically reaffirms to the entirety of all his given information towards case number

20   2:24-cv-03791 as the true integrity of the response to this interrogatory.
21   RESPONSE TO INTERROGATORY NO. 8
22    Plaintiff provides this response based on either his current recollection, memory,
23   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
24   specifically reaffirms to the entirety of all his given information towards case number
25 2:24-cv-03791 as the true integrity of the response to this interrogatory.

26 RESPONSE TO INTERROGATORY NO. 9

27    Plaintiff provides this response based on either his current recollection, memory,
28   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
                                              -3-
                            RESPONSES IN SUPPORT OF INTERROGATORIES
Case 2:24-cv-03791-RGK-E        Document 79-1 Filed 02/25/25        Page 25 of 117 Page
                                       ID #:676



 1 specifically emphasizes that his claims are not an allegation, as characterized by this

 2   interrogatory, but rather is factual. On the basis of Plaintiff's previously stated
 3 emphasis aforementioned above, Plaintiff specifically reaffirms to the entirety of all

 4   his given information towards case number 2:24-cv-03791 as the true integrity of the
 5 response to this interrogatory.

 6   RESPONSE TO INTERROGATORY NO. 10
 7    Plaintiff provides this response based on either his current recollection, memory,
 8 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

 9   specifically emphasizes that his claims are not an allegation, as characterized by this
10 interrogatory, but rather is factual. On the basis of Plaintiff's previously stated

11   emphasis aforementioned above, Plaintiff specifically reaffirms to the entirety of all
12 his given information towards case number 2:24-cv-03791 as the true integrity of the

13 response to this interrogatory.
14 RESPONSE TO INTERROGATORY NO. 11

15    Plaintiff provides this response based on either his current recollection, memory,
16 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

17 specifically emphasizes that his claims are not an allegation, as characterized by this

18 interrogatory, but rather is factual. On the basis of Plaintiffs previously stated

19 emphasis aforementioned above, Plaintiff specifically reaffirms that his Complaint

20   serves as the true integrity of the response to this interrogatory.
21   RESPONSE TO INTERROGATORY NO. 12
22    Plaintiff provides this response based on either his current recollection, memory,
23   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
24   specifically emphasizes that his claims are not an allegation, as characterized by this
25   interrogatory, but rather is factual. On the basis of Plaintiff's previously stated
26 emphasis aforementioned above, Plaintiff specifically reaffirms that his Complaint

27   serves as the true integrity of the response to this interrogatory.
28

                                                 -4-
                             RESPONSES IN SUPPORT OF INTERROGATORIES
Case 2:24-cv-03791-RGK-E       Document 79-1 Filed 02/25/25        Page 26 of 117 Page
                                      ID #:677



 1 RESPONSE TO INTERROGATORY NO. 13

 2    Plaintiff provides this response based on either his current recollection, memory,
 3 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

 4   specifically reaffirms to the entirety of all his given information towards case number
 5 2:24-cv-03791 as the true integrity of the response to this interrogatory.

 6   RESPONSE TO INTERROGATORY NO. 14
 7    Plaintiff provides this response based on either his current recollection, memory,
 8 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

 9   specifically reaffirms to the entirety of all his given information towards case number
10 2:24-cv-03791 as the true integrity of the response to this interrogatory.
11   RESPONSE TO INTERROGATORY NO. 15
12    Plaintiff provides this response based on either his current recollection, memory,
13   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
14 specifically reaffirms that his Complaint serves as the true integrity of the response to
15 this interrogatory.

16 RESPONSE TO INTERROGATORY NO. 16

17    Plaintiff provides this response based on either his current recollection, memory,
18 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

19 specifically reaffirms that his Complaint serves as the true integrity of the response to

20   this interrogatory.
21   RESPONSE TO INTERROGATORY NO. 17
22    Plaintiff provides this response based on either his current recollection, memory,
23   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
24   specifically reaffirms to the entirety of all his given information towards case number
25 2:24-cv-03791 as the true integrity of the response to this interrogatory.

26 RESPONSE TO INTERROGATORY NO. 18

27    Plaintiff provides this response based on either his current recollection, memory,
28   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
                                                -5-
                            RESPONSES IN SUPPORT OF INTERROGATORIES
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                                      ID #:678



 1 specifically reaffirms that his Complaint serves as the true integrity of the response to

 2   this interrogatory.
 3 RESPONSE TO INTERROGATORY NO. 19

 4    Plaintiff provides this response based on either his current recollection, memory,
 5 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

 6   specifically emphasizes that his claims are not an allegation, as characterized by this
 7   interrogatory, but rather is factual. On the basis of Plaintiffs previously stated
 8 emphasis aforementioned above, Plaintiff specifically reaffirms to the entirety of all

 9   his given information towards case number 2:24-cv-03791 as the true integrity of the
10 response to this interrogatory.
11   RESPONSE TO INTERROGATORY NO. 20
12    Plaintiff provides this response based on either his current recollection, memory,
13   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
14 specifically emphasizes that his claims are not an allegation, as characterized by this

15 interrogatory, but rather is factual. On the basis of Plaintiffs previously stated

16 emphasis aforementioned above, Plaintiff specifically reaffirms to the entirety of all

17 his given information towards case number 2:24-cv-03791 as the true integrity of the

18 response to this interrogatory.

19 RESPONSE TO INTERROGATORY NO. 21

20    Plaintiff provides this response based on either his current recollection, memory,
21   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
22   specifically emphasizes that his claims are not an allegation, as characterized by this
23   interrogatory, but rather is factual. On the basis of Plaintiffs previously stated
24   emphasis aforementioned above, Plaintiff specifically reaffirms to the entirety of all
25 his given information towards case number 2:24-cv-03791 as the true integrity of the

26 response to this interrogatory.
27

28

                                              -6-
                            RESPONSES IN SUPPORT OF INTERROGATORIES
Case 2:24-cv-03791-RGK-E       Document 79-1 Filed 02/25/25        Page 28 of 117 Page
                                      ID #:679



 1 RESPONSE TO INTERROGATORY NO. 22

 2    Plaintiff provides this response based on either his current recollection, memory,
 3 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

 4   specifically emphasizes that his claims are not an allegation, as characterized by this
 5 interrogatory, but rather is factual. On the basis of Plaintiffs previously stated

 6 emphasis aforementioned above, Plaintiff specifically reaffirms to the entirety of all

 7 his given information towards case number 2:24-cv-03791 as the true integrity of the

 8 response to this interrogatory.

 9 RESPONSE TO INTERROGATORY NO. 23

1O    Plaintiff provides this response based on either his current recollection, memory,
11   and information reasonably available, or its entirety. Plaintiff, a witness to the events,
12 specifically emphasizes that his claims are not an allegation, as characterized by this

13   interrogatory, but rather is factual. On the basis of Plaintiffs previously stated
14 emphasis aforementioned above, Plaintiff specifically reaffirms to the entirety of all

15 his given information towards case number 2:24-cv-03791 as the true integrity of the

16 response to this interrogatory.

17 RESPONSE TO INTERROGATORY NO. 24

18    Plaintiff provides this response based on either his current recollection, memory,
19 and information reasonably available, or its entirety. Plaintiff, a witness to the events,

20 specifically emphasizes that his claims are not an allegation, as characterized by this

21   interrogatory, but rather is factual. On the basis of Plaintiffs previously stated
22 emphasis aforementioned above, Plaintiff specifically reaffirms to the entirety of all

23   his given information towards case number 2:24-cv-03791 as the true integrity of the
24 response to this interrogatory.
25

26                                       DATED: flJ7/l'5'
27                                       Signature: ,Edwr '1 No...hr:>.Vo...t) I
28                                       Plaintiff in Pro Per
                                              -7-
                            RESPONSES IN SUPPORT OF INTERROGATORIES
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 29 of 117 Page
                                  ID #:680




                           Moving Party's

                           EXHIBITE
Case 2:24-cv-03791-RGK-E                Document 79-1 Filed 02/25/25         Page 30 of 117 Page
                                               ID #:681

 From:            Cristina Matsushima
 To:              edwio,nahavaodi@qman.com; edwin,hamid,nahavaodi@qman.com
 Cc:              Benjamin G, Piehl
 Subject:         Nahavandi v. CSU - Request for Prefiling Conference
 Date:            Monday, January 27, 2025 11:27:40 AM
 Attachments:     Nahavandi v, CSU - Request for PrefiUng Conference.pelf


 Mr. Nahavandi,


 Please see the attached correspondence.


 CRISTINA M. MATSUSHIMA

 Deputy Attorney General
 California Department of Justice
 Office of the Attorney General
 300 South Spring Street, Suite 1702
 Los Angeles, California 90013
 Tel: {213) 269-6218
 Fax: (916) 731-2125
 crjstjna.matsushima@doj.ca.gov
Case 2:24-cv-03791-RGK-E          Document 79-1 Filed 02/25/25             Page 31 of 117 Page
                                         ID #:682
      CAL        I   FOR        NIA
                                                                                                Rob Banta
      DEPARTMENT OF JUSTICE                                                                 Attorney General

                                                                        300 SOUTH SPRING STREET, SUITE 1702
                                                                                LOS ANGELES, CA 90013-1230

                                                                                         Public: (213) 269-6000
                                                                                     Telephone: (213) 269-6218
                                                                                      Facsimile: (916) 731-2125
                                                                       E-Mail: Cristina.Matsushima@doj.ca.gov

                                         January 27, 2025

Via e-mail

Edwin Nahavandi
edwin.nahavandi@gmail.com

RE:    Nahavandi v. Board of Trustees of the CSU United States District Court, Central District
       of California, Case No. 2:24-cv-03791 RGK(Ex)
       Request for Prefiling Conference pursuant to Local Rule 37-1

Dear Mr. Nahavandi:

      We have received your Written Disclosures and Responses to Special Interrogatories (Set
1), which were served on January 17, 2025. This letter constitutes my formal request to schedule
a Prefiling Conference on January 29, 2025, pursuant to Local Rule 37-1, regarding your
deficient discovery responses.

I.    WRITTEN DISCLOSURES

        In violation of Magistrate Judge Charles F. Eick's Discovery Order, dated December 18,
2024, instructing you to serve written Rule 26(a) initial disclosures, you have served deficient
disclosures.

        Pursuant to Federal Rules of Civil Procedure, Rule 26(1)(1)(A)(i), each party shall
disclose "the name and, if known, the address and telephone number of each individual likely to
have discoverable information-along with the subjects of that information-that the disclosing
party may use to support its claims or defenses, unless the use would be solely for
impeachment[.]" Your response states, "The entities along with the subjects of that information
as characterized by Plaintiffs given information towards case number 2:24-cv-03791 serves as
the true disclosure. Defendant CSU has records pertaining to this information under their control
and custody, for possession."

        Your written response is vague, evasive, and nonresponsive, which is tantamount to
serving to response at all. Fed. R. Civ. P. 37(a)(4). Insofar are you are asserting that you need
not provide the requested information because it is already in CSU's possession, custody, or
control, "courts have unambiguously stated that this exact objection is insufficient to resist a
discovery request." Nat'/ Acad. ofRecording Arts & Scis., Inc. v. On Point Events, LP, 256
F.R.D. 678, 682 (C.D. Cal. 2009).
Case 2:24-cv-03791-RGK-E           Document 79-1 Filed 02/25/25               Page 32 of 117 Page
                                          ID #:683
Edwin N ahavandi
January 27, 2025
Page2


II.    RESPONSES TO SPECIAL INTERROGATORIES (SET 1)

      Your responses to CSU' s Special Interrogatories (Set 1) similarly violate the Magistrate
Judge's discovery order which directed you to serve, without objection, verified answers to the
subject interrogatories. Rather than substantive responses, you have served almost identical
evasive, nonsubstantive, boilerplate responses to every interrogatory, stating some variation of:

               Plaintiff provides this response based on either his current
               recollection, memory, and information reasonably available, or its
               entirety. Plaintiff, a witness to the events, specifically emphasizes
               that his claims are not an allegation, as characterized by this
               interrogatory, but rather is factual. On the basis of Plaintiffs
               previously stated emphasis aforementioned above, the claims in
               Plaintiffs Complaint serve as the true integrity of the response to
               this interrogatory.

        Again, because your interrogatory responses are evasive and incomplete, they "must be
treated as a failure to ... respond." Fed. R. Civ. P. 37(a)(4). Your continued failure to
participate in the discovery process in good faith thwarts the very purpose of discovery, which is
"to remove surprise from trial preparation so the parties can obtain evidence necessary to
evaluate and resolve their dispute." U.S. ex rel. Schwartz v. TRW, Inc., 211 F.R.D. 388, 392
(C.D. Cal. 2002) (citing Oakes v. Halvorsen Marine Ltd., 179 F.R.D. 281,283 (C.D.Cal.1998)).

III.   CSU's MOTION FOR SANCTIONS

      Because of your ongoing failure to comply with the Magistrate Judge's Discovery Order or
the Federal Rules of Civil Procedure, CSU intends to file a motion for terminating sanctions and
attorney's fees or, in the alternative, for evidentiary sanctions, pursuant to Rule 37.

       A terminating sanction, while ''very severe," is justified based upon a showing of
"willfulness, bad faith, and fault." Connecticut Gen. Life Ins. Co. v. New Images ofBeverly
Hills, 482 F.3d 1091, 1096 (9th Cir. 2007); Fed. R. Civ. P. 37(b)(2)(A)(v). In determining the
appropriateness of terminating sanctions, a court should consider the following factors:

               ( 1) the public's interest in expeditious resolution of litigation; (2)
               the court's need to manage its dockets; (3) the risk of prejudice to
               the party seeking sanctions; (4) the public policy favoring
               disposition of cases on their merits; and (5) the availability of less
               drastic sanctions."

Connecticut Gen. Life Ins. Co., 482 F.3d at 1096.

      "The sub-parts of the fifth factor are whether the court has considered lesser sanctions,
whether it tried them, and whether it warned the recalcitrant party about the possibility of case-
dispositive sanctions." Connecticut Gen. Life Ins. Co., 482 F.3d at 1096. "The most critical
Case 2:24-cv-03791-RGK-E          Document 79-1 Filed 02/25/25             Page 33 of 117 Page
                                         ID #:684
Edwin N ahavandi
January 27, 2025
Page 3


factor to be considered in case-dispositive sanctions is whether 'a party's discovery violations
make it impossible for a court to be confident that the parties will ever have access to the true
facts."' Id. at 1097 (quoting Valley Eng'rs v. Electric Eng'g Co., 158 F.3d 1051, 1058 (9th
Cir.1998). The party facing the sanctions "'carries the burden of demonstrating that the failure
to comply with" disclosure rules "is substantially justified or harmless."' Haas v. Travelex Ins.
Servs. Inc., 679 F. Supp. 3d 962, 966 (C.D. Cal. 2023), appeal dismissed, No. 23-55670, 2023
WL 9381382 (9th Cir. Dec. 5, 2023) (quoting Jarrow Formulas, Inc. v. Now Health Grp., Inc.,
No. CV 10-8301 PSG (JCx), 2012 WL 3186576, at *15 (C.D. Cal. Aug. 2, 2012).)

       Here, you have failed to comply with the very basic requirements of discovery as well as
this Court's Discovery Order. Your failure to meaningfully participate in the discovery process
has prejudiced CSU's ability to evaluate and/or resolve this dispute. This matter cannot be tried
on the merits because CSU currently has no access to the "true facts" of the case, beyond the
information within its own possession. Due to your failure to comply with this Court's
Discovery Order, CSU will seek sanctions including attorney's fees and dismissal of this action
or, in the alternative, an order excluding your evidence at trial. Fed. R. Civ. P. 37(b)(2)(A)(ii),
(v).

IV.     REQUEST FOR PREFILING CONFERENCE AND AMENDED DISCOVERY RESPONSES

      Pursuant to Local Rule 37-1, I am requesting a Prefiling Conference to discuss these
deficiencies. Because you will already be present in my office on January 29, 2025, I suggest
we have our conference before or after your deposition on that day. As we will further discuss
during our Prefiling Conference, absent receipt of timely amended, Rule-compliant responses,
CSU will pursue a motion for sanctions.


                                              Sincerely,



                                              CRISTINA
                                              Deputy Attorney General

                                      For     ROB BONTA
                                              Attorney General

LA2024302735
67384148 .docx
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 34 of 117 Page
                                  ID #:685




                           Moving Party's

                           EXHIBIT F
Case 2:24-cv-03791-RGK-E                    Document 79-1 Filed 02/25/25                       Page 35 of 117 Page
                                                   ID #:686

 From:                 Edwin Nahavandi
 To:                   edwjn.hamjd.nahavandi@gmaH.com; Edwin Nahavandi; edoyandi@gmaH.com; Benjamin G. Diehl; C!lliina
                       Matsushima; Gail Agcaom; Alyssa Barragan
 Subject:              Re: Documents with Exhibits
 Date:                 Thursday, February 6, 2025 5:13:52 AM
 Attachments:          Edwin Hamid Nahavandi Document.pd{
                       Edwin Hamid Nahavandi Exhibits.zip


  EXTERNAL EMAIL: This message was sent from outside DOJ. Please do not click links or open attachments that
  appear suspicious.
 Electronic Mail Service, Sent on February 6, 2025 or 2/6/25.
Case 2:24-cv-03791-RGK-E      Document 79-1 Filed 02/25/25     Page 36 of 117 Page
                                     ID #:687



Edwin Hamid Nahavandi
5710 Comanche Ave.
Woodland Hills, CA. 91367
Telephone: (818) 569-9673
Email: edwin.nahavandi@gmail.com

Plaintiff in pro per

Department of Justice
300 South Spring Street, Suite 1702
Los Angeles, CA. 90013

Defendant's Attorneys

Via e-mail
Department of Justice Attorneys for Defendant CSU

RE: EDWIN HAMID NAHAVANDI vs. BOARD OF TRUSTEES OF THE
CALIFORNIA STATE UNIVERSITY (the State of California acting in its higher
education capacity); ERIKA DREW BECK, in her official capacity as President of
California State University, Northridge; ZEINA OTAKY RAMIREZ, in her
official capacity as Director of Student Conduct and Ethical Development at
California State University, Northridge; WILLIAM WATKINS, in his official
capacity as Vice President of Student Affairs at California State University,
Northridge, United States District Court, Central District Court of California,
Western Division. Case No. 2:24-cv-03791
Request for Prefiling Conference pursuant to Local Rule 37-1

Dear Department of Justice,

I have received your letter regarding your allegations, in response to my written
disclosures and interrogatories for this proceeding and have met and conferred with
you in good faith on January 29, 2025, pursuant to Local Rule 37-1, towards
Defendant CSU's intent to still continue their motion for sanctions. I would like to
schedule a Prefiling Conference to speak with you regarding your improper
advocacy and intentional purpose to harass Plaintiff EDWIN HAMID
NAHAVANDI.

On October 3, 2024, the Department of Justice counsel served Plaintiff their
allegedly complete initial disclosures, pursuant to the Federal Rules of Procedure,
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                                     ID #:688



Rule 26, see Exhibit A, failing to provide their initial disclosures 10 days after their
Responsive Defensive Pleading, as stipulated, see Parties Joint Rule 26(1).

In the Written Disclosures, pursuant to the Federal Rules of Procedure, Rule
26(a)(l)(i), the Department of Justice counsel, in bad faith, had intentionally and
knowingly concealed material information of potential witnesses that were
addressed in Plaintiffs Court filed documents, but not limited to other participants,
which the Plaintiff could have not known about, since it's reasonable that other
California State University employees or others, relevant to the nature of this
proceeding, explicitly had communication channels that were most likely pertinent
to the provisions governed by the required disclosures, however, the Department of
Justice had given no contact information of their deficient witnesses, stating
"Because all the individuals named in response to Rule 26(a)(l)(A)(i) are current or
former CSU employees, they should be contacted through CSU' s counsel of
record.", see Exhibit B, and had intentionally made a false claim that their
disclosures were not deficient, see Motion to Compel.

Department of Justice counsel, in the Initial Disclosures, Plaintiff, a witness to the
events, had sent, provided his responses based on either his current recollection,
memory, and information reasonably available, or its entirety. If the court orders
discovery of interrogatory responses, it must be protected against disclosure of the
mental impressions, conclusions, opinions, or legal theories of a party concerning
the litigation, pursuant to Federal Rule of Procedure, Rule 26(b )(3)(B).

A significant potential witness that the Department of Justice counsel, in bad faith,
withheld would be a person such as Thy Monaco, the designated Attorney for
Defendant CSU, for California State University, Northridge, see Exhibit C, which
knew about Plaintiffs Federally protected disability, see Exhibit D, upheld by
Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 et seq, and expressed
to Plaintiff the loss of funding from his disability grant, funded by the Federal
Government, for his disability, is his problem to address, with the Federal
Government himself, see Exhibit E, causing irreparable damage to Plaintiffs
legitimate and truthful claim, for it to be dismissed in this Court, disregarding the
fact that the only way to be funded by the Department of Rehabilitation is to actually
have a disability, which is defined by the Department of Rehabilitation as having a
physical or mental impairment that substantially limits one or more major life
activity, and has a record of or is regarded as having such an impairment, see Exhibit
F.
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Notably, the Department of Rehabilitation has a contractual agreement with
Defendant CSU, which deems that if Defendant CSU had accepted funds from this
Federal Government Entity, Defendant CSU cannot deny or exclude Plaintiff
EDWIN HAMID NARAVANDI's involvement or disability benefits with any
Federal Government entity such as the Department of Justice, or it could lead to the
suspension and debarment of the Federal Government funds to Defendant CSU, see
Exhibit G, and since Defendant CSU intentionally denied Plaintiff of his disability,
which they knew about, publicly in this Court, they are in violation of their contract
between the Federal Government. Most importantly, Plaintiff did not have a duty to
disclose his privileged and confidential information towards his disability,
whatsoever, in this Court that led to the dismissal of his disability claim, due to the
willful concealment of material fact from Defendant CSU, because it was
determined in Cahill v. Liberty Mut. Ins. Co, 80 F.3d 336, 337-38 (9th Cir. 1996) that
the Plaintiffs pleadings must be construed as true.

Department of Justice counsel, the State of California had intentionally stole Federal
Government funds from Plaintiffs financial aid grant, provided by the Department
of Education, including the funds Plaintiff was obtaining for his disability grant,
from the Department of Rehabilitation, another Federal Government entity, by
fraudulently misallocating the Department of Education's funds to themselves,
while unlawfully obtaining the extra amount of monetary assets from the
Department of Rehabilitation, since the Department of Rehabilitation was funding
Plaintiffs entire tuition, subtracted by the costs funded by the Department of
Education, illegally and criminally stealing from two Federal Government Entities.
Here in Exhibit H, you can see Plaintiffs receipts from Defendant CSU, including
the funding from the Department of Education and Department of Rehabilitation,
and with a side by side comparison you can observe that in one term of Plaintiffs
semester Defendant CSU gave Plaintiff the appropriate disbursements of funds when
he had accepted the Federal aid, and in the other Defendant CSU conducted criminal
embezzlement, misappropriately taking extra funds through theft, since Defendant
CSU knew that Plaintiff had a full scholarship from the Department of
Rehabilitation.

Also, in Plaintiffs Complaint, Defendant CSU, and prior to the dismissal of the other
Defendants, Defendants ERIKA DREW BECK, ZEINA OTAKY RAMIREZ, and
WILLIAM WATKINS, intentionally denied that Plaintiff had a disability and was
being funded by the Department of Rehabilitation for his disability, when they knew
that Plaintiff had a disability, see Exhibit D, and Motion to Dismiss, Responsive
Defensive Pleading.
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Not to mention the fact that Defendant CSU retaliated against Plaintiff based upon
his mental condition, by taking advantage of the fact that Plaintiff EDWIN HAMID
NAHAVANDI had a disability, disengaging his worries and fears of Antisemitism
through manipulative practices to trick Plaintiff into believing that he's the problem,
recommending him to be stabilized for having concerns that attacked his perceived
Jewish identity, which was exacerbated by the members of the University, telling
Plaintiff that he needs to seek a psychiatrist for the purpose of being medicated, in
regard to his fears and worries from harassment, discrimination, and retaliation
towards his national origin, subjugating Plaintiff through disability discrimination
by stereotyping his protected status, inferring that the problem associated with their
students Antisemitic conduct as well as Defendant CSU' s discriminatory conduct
are medical concerns that should be addressed by a mental health professional,
retaliating against the Plaintiff that medical treatment revolving medication is the
solution for discrimination, harassment, and retaliatory conduct that occurs at CSU,
Northridge, while insisting that it's a requirement for Plaintiff to receive medical
supervision, ifhe wants to be allowed to enroll in the University, since his behaviors
caused by his mental condition was not assessed properly, which segregated Plaintiff
for unfair, unequal, and uncivil treatment based upon his disability, showing their
true intentions of how they treat persons with disabilities.

Department of Justice counsel, upon the filing of your motion to dismiss, Plaintiff
EDWIN HAMID NAHAVANDI obtained all the case laws and relevant information
of discrimination from the Department of Justice, see Plaintiff's Opposition to
Motion to Dismiss, however, you denied your own Department of Justice, and
factually argued against yourselves, from your own policies and procedures towards
what defines discrimination. Plaintiff is not an attorney whatsoever that's why he
used the Department of Justices resources to support his case, and the material that
was provided by the Department of Justice only revealed that Plaintiff does have a
case, within the meritable bounds of the Department of Justice, but to deny
yourselves is questionable and unintelligible.

Department of Justice counsel, your allegations are not only moot, but are also
threatening, harassing, discriminatory, and retaliatory, in nature, especially when
you, as the Department of Justice counsel, intentionally disregard honorable Judge
Gary R. Klausner's orders, implying that the Judge is wrong for not dismissing
Plaintiffs legitimate and truthful discrimination claim, deliberately committing
criminal contempt by being disobedient or disrespectful toward the court of law, due
to the willful act of defying the authority, justice, and dignity of this Court. Not only
do you keep redundantly and frivolously contending that Plaintiff does not have a
case, you deny yourselves, by denying your own policies, procedures, and rules,
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which constitute discrimination, which Plaintiff obtained from the Department of
Justice, see Plaintiff's Opposition to Motion to Dismiss. It's not factually possible
for the Department of Justice to deny the Department of Justice, but you managed
to somehow create that possibility.

Department of Justice counsel, you intentionally committed a felony in this Court,
pursuant to 18 U.S.C. § 241; 18 U.S.C. § 242; 18 U.S.C. § 245, by depriving and
denying Plaintiff of his Constitutional rights, pleading that the State of California is
immune to lawsuits, see Defendant's Responsive Pleading, in a proceeding that they
are not immune to, and when Plaintiff had cited the United States laws from the
Federal Government's House of Representatives, see Exhibit I, to explain to the
Department of Justice that they are incorrect about the Federal laws of the United
States, you, the Department of Justice denied the Federal Government again, by
explaining that these are not true facts, implying that the Federal Government, also,
must have gotten their own Federal laws wrong too, especially, the Federal
Government entity, who actually creates these Federal laws, for you, the Department
of Justice, to enforce, see Motion to Strike.

Department of Justice counsel, the Federal Bureau of Investigation defines
Conspiracy Against Rights, pursuant to 18 U.S.C. § 241, as an unlawful criminal
felony, for when two or more persons conspire to injure, oppress, threaten, or
intimidate any person of any state, territory or district in the free exercise or
enjoyment of any right or privilege secured to them by the Constitution or the laws
of the United States, which includes punishment from a fine or imprisonment of up
to ten years, or both, see Exhibit J, which you, the Department of Justice have
violated.

Department of Justice counsel, the Federal Bureau of Investigation defines
Deprivation of Rights Under Color of Law, pursuant to 18 U.S.C. § 242, as an
unlawful criminal felony, for when any person acting under color of law, statute,
ordinance, regulation, or custom to willfully deprive or cause to be deprived from
any person those rights, privileges, or immunities secured or protected by the
Constitution and laws of the U.S, these acts under "color of any law" include acts
not only done by federal, state, or local officials within the bounds or limits of their
lawful authority, but also acts done without and beyond the bounds of their lawful
authority; provided that, in order for unlawful acts of any official to be done under
"color of any law," the unlawful acts must be done while such official is purporting
or pretending to act in the performance of his/her official duties, which includes, but
is not limited to, law enforcement officials, individuals such as Mayors, Council
persons, Judges, Nursing Home Proprietors, Security Guards, etc, persons who are
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bound by laws, statutes ordinances, or customs, resulting in punishment from a fine
or imprisonment ofup to one year, or both, see Exhibit J, which you, the Department
of Justice have violated.

Department of Justice counsel, the Federal Bureau of Investigation defines Federally
Protected Activities, pursuant to 18 U.S.C. § 245, as an unlawful criminal felony,
for when any person willfully injures, intimidates, or interferes, or attempt to do so,
by force or threat of force of any person or class of persons because of their protected
activity, which is subject to a fine or imprisonment of up to one year, or both, see
Exhibit J, which you, the Department of Justice have violated.

Department of Justice counsel, the amount of unlawful violations or acts conducted
by you, the Department of Justice, and the State of California are not limited to other
misconduct that was done under the scope of both your official duties, as you both
are bound to the fullest extent of the applicable laws, ordinances, regulations,
policies, and etc. in California and the United States.

Department of Justice counsel, an attorney for the Government shall be subject to
State laws and rules, and local Federal court rules, governing attorneys in each State
where such attorney engages in that attorney's duties, to the same extent and in the
same manner as other attorneys in that State, pursuant to 28 U.S.C. § 530B, see
ExhibitK.

Department of Justice counsel, you have made an lawful oath to solemnly swear (or
affirm), by truth, that you will support and defend the Constitution of the United
States, pursuant to 5 U.S.C. § 3331, see Exhibit L, but violated this oath, and are
subject to disciplinary action from the Department of Justice Office of Professional
Responsibility, which investigates attorney misconduct from Department of Justice
employees, see Exhibit M.

Department of Justice counsel, you have violated the Local Rules of the United
States District, Central District of Court California, and are subjection to discipline,
pursuant to Local Rule 83-3.1, including disciplinary action from The Standing
Committee on Discipline, pursuant to Local Rule 83-3.1.1, as well as the Standards
of Professional Conduct, pursuant to Local Rule 83-3.1.2, which could also subject
you to disbarment, suspension, monetary penalties, and resignation, pursuant to
Local Rule 83-3.1.3, and since you have violated the ethical standards of conduct, a
complaint may be filed against you for further investigation, pursuant to Local Rule
83-3.1.4.
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Department of Justice counsel, you are in clear violation of the Rules of Professional
Conduct from the American Bar association in which you are bound to, pursuant to
Rule 3.5, 4.1, 8.4, 8.5, see Exhibit N. Department of Justice counsel you have
violated Rule 3 .5 by seeking to influence a judge or other official by means
prohibited by law, Rule 4.1 by knowingly making a false statement of material fact
or law, and failing to disclose a material fact when disclosure is necessary to avoid
assisting a criminal or fraudulent act by a client, Rule 8.4 by violating or attempting
to violate the Rules of Professional Conduct by knowingly assisting or inducing
another to do so, or do so through the acts of another; committing a criminal act that
reflects adversely on the lawyer's honesty, trustworthiness or fitness as a lawyer in
other respects; engaging in conduct involving dishonesty, fraud, deceit or
misrepresentation; engaging in conduct that is prejudicial to the administration of
justice; stating or implying an ability to improperly influence a government agency
or official or to achieve results by means that violate the Rules of Professional
Conduct or other law; engaging in conduct that the lawyer knows or reasonably
should know is harassment or discrimination on the basis of race, sex, religion,
national origin, ethnicity, disability, age, sexual orientation, gender identity, marital
status or socioeconomic status in conduct related to the practice of law, Rule 8.5 for
intentional misconduct, since a lawyer admitted to practice in this jurisdiction is
subject to the disciplinary authority of this jurisdiction, regardless of where the
lawyer's conduct occurs, and may be subject to the disciplinary authority of both this
jurisdiction and another jurisdiction for the same conduct.

Department of Justice counsel your impartial acts could be forwarded to the Federal
Judges, in accordance with the Code of Conduct for the Official Duties of the United
States Federal Judges, since the integrity and impartiality of the judiciary is
promoted when judges take appropriate action based on reliable information of
likely misconduct, to such extent appropriate action depends on the circumstances,
but the overarching goal of such action should be to prevent harm to those affected
by the misconduct and to prevent recurrence, deeming that a person reporting
information of misconduct or disability must be informed at the outset of a judge's
responsibility to disclose such information to the relevant chief district judge or chief
circuit judge, outlining that appropriate action may include, but is not limited to,
direct communication with the judge or lawyer, or other direct action if available,
reporting the conduct to the appropriate authorities, to that extent such appropriate
action may also include responding to a subpoena to testify or otherwise cooperating
with or participating in judicial or lawyer disciplinary proceedings, emphasizing that
a judge should be candid and honest with disciplinary authorities, pursuant to Canon
3B(6). Department of Justice counsel, a judge is required to maintain and enforce
high standards of conduct and should personally observe those standards, so that the
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integrity and independence of the judiciary may be preserved, and whether
disciplinary action is appropriate, and the degree of discipline, it should be
determined through a reasonable application of the text and should depend on such
factors as the seriousness of the improper activity, the intent of the judge, whether
there is a pattern of improper activity, and the effect of the improper activity on
others or on the judicial system, pursuant to Canon 1, see Exhibit 0.

Department of Justice counsel, since your acts or omissions where caused under the
scope of your official duties, you could, individually, be subject to a lawsuit, as
Plaintiff may initialize a Freedom of Information Act request from the Office of
Information Policy, governed by the Department of Justice to gather further
information to what contractual obligations and duties you have not performed
within the scope of your duties, which could constitute a breach of contract between
you, the Department of Justice employees, and the Department of Justice in itself.
Citizens, such as the Plaintiff, are allowed to file suits on behalf of the government
(called "qui tam" suits) against those who have defrauded the government, see
Exhibit P.

Department of Justice counsel, here you can see in Exhibit Q that Plaintiff was called
many things from the verified CSUN students that I had confirmed to your Federal
Government department, but instead Defendant CSU retaliated, and harassed
Plaintiff for it, for exploiting and exposing the truth, see Complaint. The evidence
speaks for itself, as well as your actions with Defendant CSU, and for your intent to
conceal and remove the truth by taking advantage of the Plaintiff to abuse the judicial
process is not only wrong, but it's evil.

Throughout this whole case, all Plaintiff did was tell the whole truth, you can review
the whole truth with your own observation, from the discovery evidence and Court
filed documents, but you choose to consciously and willfully avoid the truth,
violating the conscious avoidance doctrine, which is a criminal act, deeming that
causing further crime upon a victim, by obstructing justice, and illegally defrauding
the United States, while intentionally misleading and lying to the Judge, is the only
solution to protecting individuals who want to harm Jews, then you are no better
than those who want to hurt the Jewish people.

Department of Justice counsel, in my Jewish religion, we believe in Judgement Day,
it's a belief that when a person goes to the afterlife, they meet God to be judged, by
God himself, I know when my time comes, God would reflect upon all the actions I
have done to save my Jewish community from turmoil, and not blame me because I
have went through the most significant and unimaginable mental and physical
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oppressions that made me unbearably suffer so much immense pain, leading to the
significant decline of my health, however, I still stand here today, on behalf ofmy
Jewish community, to defend them, to tell them to never give up, even if the situation
may seem so impossible, given the circumstances, and to never give in to evil.

Department of Justice counsel, the 33 items of evidence, which you solemnly swear
by truth, under oath, is perjurious, and a felonious crime, and an obstruction of
justice in itself, as explained in Plaintiff's Opposition to Motion to Strike, a
reasonable person can agree and conclude that you chose what evidence to conceal
and hide in this proceeding to not only create a bias against the Plaintiff, since the
evidence would have been unfavorable to Defendant CSU, but you inflict severe
punishment upon the Plaintiff from the wrongdoings of your own actions towards
Plaintiff EDWIN HAMID NAHAVANDI, when he sent the requests and stated
"Here are the requests. I don't have custody and control, for possession, of the other
requests for production. I'm aware that Defendant CSU, under penalty of perjury,
stated that they have sent everything in their custody and control, for possession, but
could you please give me access to my CSU account, which has the material you
requested in Defendant CSU's custody and control, for possession ... I need to obtain
the CANVAS messages in relation to my agreement with Defendant CSU to attack
and harm the Jewish people.", see Exhibit R, however, instead of actually
investigating the truth, you intentionally ignored it, denying me of my right to obtain
and access information from my own CSU account, in bad faith, and declaring
instant sanctions to further exacerbate my ability to participate, just as Defendant
CSU did.

Ultimately, Plaintiff would need to address this situation with the Court through the
appropriate motions or ex parte applications, due to the urgency of the matter, based
on the aforementioned facts and merits, to prevent further misconduct that could
further jeopardize or damage this proceeding impartially and negatively. Plaintiff
respectfully, asks the Department of Justice counsel, to refrain from any further
attempts of intentional bad faith, as filing an instant motion for sanctions would be
seen as another intentional attempt of bad faith, and will be documented for future
referencing to the appropriate entities.
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                           Moving Party's

                       EXHIBITG
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                                                ID #:697

 From:            Cristina Matsushima
 To:              edwio,nahavaodi@qman.com
 Cc:              Benjamin G, Piehl
 Subject:         Nahavandi v. CSU - CSU Letter re Plaintiff''s Request for Pre-Filing Conference
 Date:            Thursday, February 13, 2025 9:30:00 AM
 Attachments:     Nahavandi v, CSU - CSU Letter re Plaintiff''s Request for Pre-Fmng,pdf


 Mr. Nahavandi,

 Please see the attached correspondence.

 CRISTINA M. MATSUSHIMA

 Deputy Attorney General
 California Department of Justice
 Office of the Attorney General
 300 South Spring Street, Suite 1702
 Los Angeles, California 90013
 Tel: (213) 269-6218
 Fax: (916) 731-2125
 crjstjna.matsushima@doj ca.gov
Case 2:24-cv-03791-RGK-E          Document 79-1 Filed 02/25/25            Page 47 of 117 Page
                                         ID #:698
      CA      L   I   FOR       NIA
                                                                                               Rob Banta
      DEPARTMENT OF JUSTICE                                                                Attorney General

                                                                       300 SOUTH SPRING STREET, SUITE 1702
                                                                               LOS ANGELES, CA 90013-1230

                                                                                        Public: (213) 269-6000
                                                                                    Telephone: (213) 269-6218
                                                                                     Facsimile: (916) 731-2125
                                                                      E-Mail: Cristina.Matsushima@doj.ca.gov

                                        February 13, 2025
Via e-mail

Edwin Hamid N ahavandi
5710 Comanche Ave.
Woodland Hills, CA. 91367
Telephone: (818) 569-9673
edwin.nahavandi@gmail.com

RE:    Nahavandi v. Board of Trustees of the CSU, United States District Court, Central District
       of California, Case No. 2:24-cv-03791 RGK(Ex)
       CSU's Response to Plaintiff's Request for Pre-Filing Conference

Dear Mr. Nahavandi:

         We are in receipt of your February 6, 2025, correspondence requesting to schedule a
Prefiling Conference regarding the "improper advocacy and intentional purpose to harass
Plaintiff Edwin Hamid Nahavandi." While I am happy to schedule a conference at your
convenience, I would first like to request that you clarify what motion or motions you intend to
file in relation to this conference so that I can more meaningfully prepare. As it stands, the
actual purpose of the conference remains unclear. In the meantime, below I have addressed
several of the issues you raise in your letter.

        First, you state in your letter that "the Department of Justice counsel, in bad faith, had
intentionally and knowingly concealed material information of potential witnesses[.]" More
specifically, you take issue with the fact that in its Initial Disclosures, CSU states that the
identified individuals could be contacted through CSU' s counsel ofrecord, i.e., the California
Department of Justice, Office of the Attorney General (AGO). Because the AGO is counsel of
record for CSU, and because the identified individuals are current employees of CSU, this Initial
Disclosure is appropriate.

         Second, you state that Thy Monaco, "the designated Attorney for Defendant CSU . . .
knew about Plaintiff's Federally protected disability, .. . and expressed to Plaintiff the loss of
funding from his disability grant[.]" I understand your contention to be that Ms. Monaco should
have been identified in CSU's Initial Disclosures as a witness. However, based upon your own
letter, you appear to be claiming that Ms. Monaco may have relevant information regarding your
disability cause of action, which was dismissed by the Court. Order re Defendants' Motion to
Dismiss, ECF 42. CSU need not provide Initial Disclosures regarding dismissed causes of
action, which fall outside the scope of permissible discovery. Fed. R. Civ. P. 26(a)(l)(A).
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                                        ID #:699
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Moreover, as CSU's in-house counsel, Ms. Monaco's knowledge, impressions, and
correspondence are subject to the attorney-client and work product privileges, and therefore are
not discoverable. Fed. R. Evid. 502.

        The remainder of your correspondence consists of substantive arguments regarding your
now-dismissed disability cause of action, unintelligible allegations of misconduct, and other
allegations and threats against CSU and the AGO. Specifically, you assert that AGO counsel of
record can or should be subject to criminal prosecution, both in a personal and professional
capacity, based upon its representation and advocacy on behalf of CSU. Additionally, you
request in your letter that CSU refrain from filing a motion for sanctions, which you state "would
be seen as another intentional attempt of bad faith, and will be documented for future referencing
to the appropriate entities." While you may disagree with CSU's litigation strategy and the rules
that govern federal litigation, your personal attacks are baseless and legally incorrect. Please
take notice that CSU will be informing the Court of your egregiously improper threat to report
the AGO - CSU's counsel of record- to "the appropriate entities" for filing legally and
procedurally proper motions.

        Should you wish to engage in civil discourse regarding the pending litigation, please
provide additional information regarding the requested scope of the conversation. If you instead
intend to use a Prefiling Conference as an opportunity to repeat your baseless allegations of
misconduct, no Prefiling Conference is necessary.


                                             Sincerely,



                                             CRISTINA M. MATSU SHIMA
                                             Deputy Attorney General

                                     For     ROB BONTA
                                             Attorney General

CMM:

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67423695.docx
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                           Moving Party's

                       EXHIBIT H
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                                                   ID #:701

 From:               Cristina Matsushima
 To:                 edwio,nahavaodi@qman.com
 Cc:                 Benjamin G, Piehl
 Bee:                Cristina Matsushima
 Subject:            Nahavandi v. CSU - CSU"s Motion for Sanctions - Joint Stipulation
 Date:               Thursday, February 13, 2025 10:30:00 AM
 Attachments:        Nahavaodi v, csu - Joint Stipulation re csu"s Motion for saactioos,docx
                     CSU Motion for Sanctions Exhibits,pdf


 Mr. Nahavandi,


 Attached are CSU's Joint Stipulation and exhibits in support of its Motion for Sanctions.
 Pursuant to Local Rule 37-2.2:


            .... Unless the parties agree otherwise, within seven days of receipt of the moving
            party's material, counsel for the opposing party must personally deliver, e-mail, or fax
            to counsel for the moving party the opposing party's portion of the stipulation, together
            with all declarations and exhibits to be offered in support of the opposing party's
            position. After the opposing party's material is added to the stipulation by the moving
            party's counsel, the stipulation must be provided to opposing counsel, who must sign
            it (electronically or otherwise) and return it to counsel for the moving party no later
            than the end of the next business day, so that it can be filed with the notice of motion.


 Accordingly, please return your portion of the Joint Stipulation by February 20, 2025. Thank
 you.



 CRISTINA M. MATSUSHIMA

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                                   ID #:702




                           Moving Party's

                       EXHIBIT I
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                                    ID #:703



 1 Edwin Hamid Nahavandi
 2 5710 Comanche Ave.
   Woodland Hills, CA. 91367
 3 Telephone: (818) 569-9673
 4 Email: edwin.nahavandi@gmail.com

 5 Plaintiff in pro per

 6

 7

 8

 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                WESTERN DIVISION
12

13 EDWIN HAMID NAHAVANDI                             Case No. 2:24-cv-03791-RGK(EX)
14                            Plaintiff(s),        DISCOVERY MATTER: LOCAL
15          vs.                                    RULE 37 JOINT STIPULATION
                                                   RESPONSE TO DEFENDANT'S
16   BOARD OF TRUSTEES OF THE                      MOTION FOR TERMINATING
17   CALIFORNIA STATE UNIVERSITY                   SANCTIONS AND MONETARY
     (the State of California acting in its higher SANCTIONS OR IN THE
18   education capacity); ERIKA DREW               ALTERNATIVE EVIDENTIARY
19   BECK, in her official capacity as President SANCTIONS
     of California State University, Northridge;
20   ZEINA OTAKY RAMIREZ, in her
21   official capacity as Director of Student
     Conduct and Ethical Development at
22
     California State University, Northridge;
23   WILLIAM WATKINS, in his official
24   capacity as Vice President of Student
     Affairs at California State University,
25   N orthridge
26                            Defendant(s).
27

28

                                              - 1-
                 DISCOVERY MATTER: LOCAL RULE 37 JOINT STIPULATION RESPONSE
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 1         1.     The Department of Justice counsel has a sworn oath, (DOJ Sworn
 2   Official Duties, Ex. A) as declared by the highest-ranking members of congress in the
 3 legislative body of the Federal Government, the House of Representatives, to uphold

 4   the truth and ensure that the constitution, bill of rights, and laws of the United States
 5 are faithfully executed without prejudice and harm to others, including those persons

 6   who are Jewish, to negate and prevent evil upon those who want to harm Jewish
 7   people for their perceived status, including Plaintiff, who was criminally threatened
 8 through illegal coercive and obstructive methods by Defendant CSU, who

 9   weaponized their educational institution to instill fear upon the Plaintiff by
1O   threatening to inflict death and injury between a Plaintiff as a means to prevent
11   Plaintiff from filing this lawsuit, see Opposition to Motion to Strike, focusing on the
12 intentional basis of murder towards the Plaintiff, teaching content about what year the

13 person will die, (Defendant CSU Death Threat, Ex. B) causing Plaintiff to fear for his

14 life, (Foreseeable Death Declaration, Ex. C) including how Defendant CSU will get

15 a reserved summary judgement and a dismissal of this lawsuit case from the Judge,

16 see Opposition to Motion to Dismiss and Motion for Continuance, implicitly

17 admitting that the Judge will refuse to preserve justice and commit a criminal felony

18 to help the United States Department of Justice and the State Government of

19 California obstruct justice towards the Plaintiff, to send a clear message to the Jewish

20   audience that not even this Court will uphold the laws of the United States upon those
21   persons of the Jewish religion, nor punish those who want to murder Jewish people.
22         2.     The Federal Bureau of Investigation defines Conspiracy Against Rights,
23   (FBI Criminal Felonies, Ex. D) pursuant to 18 U.S.C. § 241, as an unlawful criminal
24   felony for when two or more people conspire to injure, oppress, threaten, or
25   intimidate any person of any state, territory, or district in the free exercise or
26 enjoyment of any right or privilege secured to them by the constitution or the laws of

27   the United States, and to such extent if death or an attempt to kill occurs, those
28 persons are subject to life in prison.

                                                -2-
                   DISCOVERY MATTER: LOCAL RULE 37 JOINT STIPULATION RESPONSE
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 1          3.    Furthermore, the Department of Justice counsel for Defendant CSU has
 2   offered no explanation to why Plaintiff was not allowed to defend his Jewish religion,
 3 community, and people, see Complaint and Defendant's Responsive Pleading, nor

 4   offers an explanation to why Defendant CSU hosts events in their University that
 5 glorify the murder of Jewish people on their campus, only that the Department of

 6   Justice counsel had contended that the murdering of Jewish people should be ignored,
 7   and refused to investigate individuals who want to murder the Jewish people, see
 8 Motion to Dismiss, allowing individuals to proceed with their intent to support the

 9   murder of Jews.
10          4.    After Defendant CSU had prevented Plaintiff from attending the
11   University until he had explained why it was necessary for him to defend his Jewish
12 religion, community, and people, Defendant CSU offered Plaintiff an agreement that

13   if he would attack and harm the Jewish people, he would be able to attend the
14 University and not get suspended. Plaintiff had to choose, it was either agree to

15 Defendant CSU's offer to attack and harm the Jewish people so he could continue his

16 education, or refuse Defendant CSU' s offer and get suspended and lose his education

17 for protecting his Jewish religion, community, and people.

18          5.    Defendant CSU only charged Plaintiff for his emails that protected his
19 Jewish religion, community, and people, not his emails that attacked and harmed the

20   Jewish people, which was when Plaintiff had accepted Defendant CSU's agreement
21   to attack and harm the Jewish people, since attacking and harming the Jewish people
22   as well as wanting to murder the Jewish people aligned with Defendant CSU's
23   interests.
24          6.    When Plaintiff had sent his responses to the Department of Justice
25   counsel, Plaintiff had also asked the Department of Justice counsel if they could
26 allow him to access his California State University account to obtain evidence

27   (Concealment Of Evidence from Department of Justice, Ex. E) to further prove his
28   claims towards his agreement with Defendant CSU, which was to attack and harm the
                                            -3-
                  DISCOVERY MATTER: LOCAL RULE 37 JOINT STIPULATION RESPONSE
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 1 Jewish people, but the Department of Justice refused to allow Plaintiff access to his

 2   account and threatened Plaintiff with immediate sanctions.
 3         7.     The refusal from the Department of Justice counsel to allow Plaintiff to
 4   access his CSU account, which is in the control and custody for possession of
 5 Defendant CSU, has further proved Plaintiffs claims when Plaintiff had stated to this

 6   Court that Defendant CSU, who is also being defended by the United States
 7   Department of Justice counsel, intentionally concealed discovery evidence, resulting
 8 in the spoilation of evidence in which the Department of Justice counsel in bad faith

 9   had denied their tampering of evidence and lied to the Federal Judge in this Court, see
10 Motion to Compel. This intentional misconduct from the Department of Justice

11   counsel had also prevented Plaintiff from checking whether his frivolous suspension
12 was removed from his transcript, which lawfully had to be removed after his frivolous

13 suspension ended, since it was less than one academic semester. (Defendant CSU

14 Executive Order 1098, Ex. F) The House of Representatives, the Federal Governing

15 body of the United States, who enacts the laws and rules for the United States District

16 Courts, has established that the failure of United States attorneys, such as the

17 Department of Justice, to fairly participate in discovery gives authoritative

18 jurisdiction to the Federal Judges to report the misconduct ofsuch figures such as the

19 Department of Justice counsel (Federal Rules of Misconduct from United States

20   Attorneys, Ex. G) to the Attorney General of the United States and other appropriate
21   agencies.
22         8.     The Department of Justice counsel Cristina Matsushima had also
23 personally threatened Plaintiff before his deposition through intimidation and

24   coercion for Plaintiff to step down from this case and told Plaintiff that Defendant
25   CSU is not guilty and that he is the actual threat, rather than those people who want to
26 murder the Jewish people, including Defendant CSU who used their educational

27   institution as an instrument to instill fear upon the Plaintiff by threatening to inflict
28

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 1 death and injury between a Plaintiff as a means to prevent Plaintiff from filing this

 2   lawsuit, see Opposition to Motion to Strike.
 3         9.     Plaintiff has been severely harmed throughout this whole process and is
 4   disturbed by the lack of remorse that the Department of Justice has displayed within
 5 this proceeding. The Department of Justice counsel has shown no interest towards

 6   combating and preventing Antisemitism, nor others who want to inflict murder and
 7   bodily injury upon the Jewish persons in University campuses. The Department of
 8 Justice counsel should care about a Jewish persons safety, not deprive or threaten it as

 9   these ignorant or negligent acts from the Department of Justice counsel will only
10 endanger the lives of more Jewish people who depend on the Department of Justice to

11   protect them, and such refusal from the Department of Justice counsel will only allow
12 these inhumane discriminatory acts to continue, which is a clear violation of human

13 rights towards the Jewish people.

14         10.    The Department of Justice counsel has indecisively portrayed that
15 defending Universities who engage in Antisemitism is more important than

16 combating and preventing Antisemitism. There have been many documented reports

17 of recent Antisemitism (Federal Government Records of Antisemitism, Ex. H) to

18 which Jewish people had incurred bodily injury from students in other Universities,

19 see Yitzchok Frankel v. Regents of the University of California, No. 2:24-cv-04702-

20   MCS-PD (C.D. Cal. 2024), and to such extent the Department of Justice has stood
21   absent, refusing to pursue any action against Antisemitism in Universities within the
22   United States, allowing others to freely harm the Jewish people without consequence,
23 resulting in a continuous spread of Antisemitism, which is still prevalent m

24   Universities today due to the Department of Justice's intentional avoidance of
25   consciously turning a blind eye to Antisemitism, establishing that the Department of
26 Justice has violated the conscious avoidance doctrine, which is a criminal act in itself.

27         11.    Plaintiff had told the Department of Justice counsel that he had obtained
28   information on what constitutes discrimination, in regard to Antisemitism, from the
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 1 Department of Justice themselves to support his Opposition to Motion to Dismiss, and

 2   explained to the Department of Justice counsel that the information provided from the
 3 Department of Justice deemed that Plaintiff was factually discriminated against,

 4   informing the Department of Justice counsel that they are denying their own
 5 Department of Justice agency, telling the Department of Justice counsel how denying

 6   themselves is not factually possible and that they have somehow created that
 7   possibility of the Department of Justice denying the Department of Justice, see
 8 Defendant's Exhibits.

 9         12.    Defendant CSU had premediated their intent to lie and obstruct justice
1O   in this Court during the time in which Defendant CSU had instilled fear upon the
11   Plaintiff by threatening to inflict death and injury as a means to prevent Plaintiff from
12 filing this lawsuit, see Opposition to Motion to Strike.

13         13.    During the duration of this proceeding Defendant CSU had carried on
14 their premediated intent to lie and obstruct justice by dismissing and denying

15 Plaintiff's disability altogether, see Motion to Dismiss, when Plaintiff was actually a

16 registered disability student in the University (Defendant CSU Disability Records,

17 Ex. I) and was receiving funding from the Department of Rehabilitation for his

18 disability, (Federal Government Disability Grant, Ex. J) which Defendant CSU's

19 designated attorney Thy Monaco (Defendant CSU's Paid Attorney, Ex. K) and prior

20   Defendants ZEINA OTAKY RAMIREZ and WILLIAM WATKINS knew about
21   since they were notified that Plaintiff has an existent disability that is federally
22   protected by discrimination laws, (Plaintiff's Attorney Informs Defendant CSU's Paid
23 Attorney of Plaintiff's Federal Disability, Ex. L) as Plaintiff had shown and explained

24   to the Department of Justice counsel, see Defendant's Exhibits.
25         14.    Plaintiff had also explained and shown evidence to the Department of
26 Justice counsel that Defendant CSU has a contractual agreement with the

27   Department of Rehabilitation (Federal Government Disability Grant, Ex. J) and that
28   if Defendant CSU were to accept the disability funds from the Department of
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 1   Rehabilitation, Defendant CSU cannot deny or exclude Plaintiff's disability benefits
 2   with any federal entity or it could lead to the suspension and debarment of federal aid
 3 funds to Defendant CSU, the State Government of California, telling the Department

 4   of Justice counsel that they have disregarded the fact that the only way to be funded
 5 by the Department of Rehabilitation is to have a physical or mental impairment that

 6   substantially limits one or more major life activity, (Vocational Rehabilitation
 7   Services, Ex. M) see Defendant's Exhibits.
 8         15.    The Department of Justice counsel had implicitly explained that the
 9   reason to why they had concealed this material information in this Court, regardless
1O   of Defendant CSU' s premediated intent to lie and obstruct justice to this Court to
11   deny and dismiss Plaintiff's claims, see Opposition to Motion to Dismiss, was
12 because Defendant CSU's designated attorney Thy Monaco is protected from

13   attorney-client privileges, see Defendant's Exhibits, giving an unintelligible argument
14 that does not excuse them from mandatory disclosure of factual material, see Green v.

15 State of California, 132 Cal. App. 4th 97 (2005); Kyles v. Whitley, 514 U.S. 419

16 (1995); Zubulake v. UBS Warburg LLC, 229 F.R.D. 422 (S.D.N.Y. 2004), and since

17 an attorney-client privilege is only between the client Defendant CSU and the

18 attorney of that client Thy Monaco, who is also an "disability rights" attorney,

19 (Defendant CSU's Paid Attorney, Ex. K) and not between the Plaintiff and Defendant

20   CSU and prior Defendants ZEINA OTAKY RAMIREZ and WILLIAM WATKINS,
21   this material fact was subject to disclosure during the onset of their Motion to
22   Dismiss, rather than wholly denying Plaintiff's disability altogether, since it was
23   openly addressed between the parties (Plaintiff's Attorney Informs Defendant CSU's
24   Paid Attorney of Plaintiff's Federal Disability, Ex. L) in the anticipation of future
25   litigation, (Notice of Lawsuit to Defendant CSU's Paid Attorney, Ex. N) see US. v.
26 Stewart, 433 F.3d 273 (2d Cir. 2006), and openly addressed by the Plaintiff in his

27   Complaint, retrospective to the claims brought under Section 504 of the
28 Rehabilitation Act, pursuant to 29 U.S.C. § 794, which clearly established that a

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 1 person who has a physical or mental impairment that substantially limits one or more

 2   major life activity and benefits from vocational rehabilitation services, such as the
 3 Department of Rehabilitation, they are recognized as a person with a disability in the

 4   United States, deeming that the Department of Justice counsel had factually admitted
 5 that they were aware of Plaintiffs disability, but intentionally disregarded it in this

 6   Court to conceal that information from the Federal Judge when filing their Motion to
 7   Dismiss, since it was most likely anticipated from the Department of Justice counsel
 8 that they would make an unintelligible frivolous argument, consciously aware that

 9   this information was not privileged and had to be disclosed, resulting in further
1O   intentional misconduct from the Department of Justice counsel, and a valid false
11   claims lawsuit. (Department of Justice Resources for False Claims, Ex. 0)
12 Provisionally, if the Department of Justice counsel only had an attorney-client

13 privileged communication between their client Defendant CSU to conspire to lie,

14 commit perjury, give false statements, and continue obstructing justice to deprive

15 Plaintiff from his constitutional rights, privileges, or other secured by the United

16 States that communication would fall under the attorney-client privilege.

17         16.   Additionally, Plaintiff had revealed and clarified through exhibitable
18 evidence to the Department of Justice counsel that Defendant CSU, the State

19 Government of California, had intentionally stole Plaintiff's Federal Government

20   funds from both the Department of Rehabilitation and Department of Education
21   (Defendant CSU Steals Plaintiff's Disability Money, Ex. P) by fraudulently
22   misallocating the Department of Education's funds to themselves while unlawfully
23   obtaining the extra amount of monetary assets from the Department of Rehabilitation,
24   who was funding Plaintiffs entire tuition for his disability, minus the expended funds
25 provided by the Department of Education, see Defendant's Exhibits. The Plaintiff

26 was awarded exactly $7,176 in Pell Grant funds for the 2022-2023 academic year,

27   which was divided equally into $3,588 for Fall 2022 and $3,588 for Spring 2023, as
28 verified through Plaintiff's financial aid records. (Defendant CSU Steals Plaintiff's

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 l   Disability Money, Ex. P) These expenditures were actual exact amounts offered,
 2   awarded, and accepted by the Plaintiff. Defendant CSU unlawfully disbursed only
 3 $2082 for Fall 2022 and $2082 for Spring 2023, as verified through Plaintiff's

 4   financial receipt records, (Defendant CSU Steals Plaintiff's Disability Money, Ex. P)
 5 resulting in a total misappropriated theft of $3,012 from the Department of

 6   Rehabilitation, who had to pay the extra amount of stolen funds. Federal law strictly
 7   prohibits educational intuitions from fraudulent misappropriation of expenditures
 8 through financial aid, see United States v. University of Phoenix, 46 l F.3d 1166 (9th

 9   Cir. 2006).
1O         17.     Even with the facts, claims, and evidence that the Plaintiff had provided
11   to the Department of Justice counsel, Plaintiff was ignored, as the Department of
12 Justice counsel was more focused on punishing Plaintiff for describing their own

13 violations and misconduct, rather than punishing Defendant CSU for their uncivil,

14 inhumane, and unlawful acts, see Defendant's Exhibits.

15         18.     Now the Department of Justice counsel seeks to intentionally weaponize
16 the procedural rules as an instrument to obstruct justice to distort the factual record of

17 Plaintiffs claims and evidence, and prevent critical evidence from being used in this

18 Court rather than rebut it through lawful argumentation, proceeding in bad faith to

19 abuse the judicial process and functional integrity of this Court to suppress evidence

20   and silence Plaintiff just as Defendant CSU did when they threatened to inflict death
21   and injury between a Plaintiff as a means to prevent Plaintiff from filing this lawsuit,
22   see Opposition to Motion to Strike, and taught content about what year the person
23   will die, (Defendant CSU Death Threat, Ex. B) causing Plaintiff to fear for his life,
24   (Foreseeable Death Declaration, Ex. C) and how Defendant CSU will get a reserved
25   summary judgement and a dismissal of this lawsuit case from the Judge, see
26 Opposition to Motion to Dismiss and Motion for Continuance, to inflict fear towards

27   the Plaintiff if he ever sought for justice against the State Government of California.
28

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 1         19.      Plaintiff reasonably believes that the Department of Justice counsel will
 2   attempt to seal this document to prevent the public from knowing about the
 3 Department of Justice's factual misconduct, obstruction of justice, and failure to take

 4   action against Antisemitism within this proceeding. Plaintiff EDWIN HAMID
 5 NAHAVANDI does NOT consent for this document to be sealed, as this document

 6   serves as a representation of public interest and public concern.
 7         20.      Plaintiff has NOT disclosed any information m this document that
 8 violates       the     attorney-client   privilege,   which   ONLY    protects    confidential
 9   communications between an attorney and their clients, unless the client voluntarily
10 chooses to disclose that privilege, see In re Lindsey, 158 F.3d 1263 (D.C. Cir. 1998)

11   has NOT disclosed any information in this document that violates the work-product
12 doctrine, which ONLY protects materials by the parties in anticipation of litigation or

13 trial, unless any party voluntarily chooses to disclose their own material on any

14 document, see U.S. v. Stewart, 433 F.3d 273 (2d Cir. 2006), has NOT disclosed any

15 mediation information or material in this document that violates the mediation
16 confidentiality agreement.

17         21.      Plaintiff does NOT waive any information of his doctor-patient
18 privileges between any of his medical doctors, psychologists, and psychiatrists.

19 Plaintiff has already provided factual evidence that he has a disability that

20   substantially limits his abilities and need not to provide any other information of his
21   condition.
22         22.      Most importantly, the Department of Justice, who prosecutes criminals
23   for the Federal Bureau of Investigation, such as those who want to cause death or
24   injury upon a Jewish individual, is required by oath to operate under a legal and
25   ethical framework that mandates the pursuit of truth in all matters as they are the
26 nation's chief law enforcement entity, and holds an obligational responsibility and

27   commitment to present the truth without obstruction and uphold justice towards any
28 party who has violated them, pursuant to 5 U.S.C. § 3331, to ensure that the rights of

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 1 all parties are protected without obstructing justice, to such extent that the

 2   Department of Justice's role is not about winning this case, it's to preserve justice
 3 upon the victims who seek them, see Berger v. United States, 295 U.S. 78 (1935).

 4         23.   The Department of Justice counsel violated this oath by refusing to take
 5 appropriate action against Antisemitism nor others who want to inflict bodily injury

 6   and death upon the Jewish people. The Department of Justice has indisputably
 7   established that it's the job of the Jewish people to prosecute and hold Universities
 8 who engage in Antisemitism responsible rather than the Department of Justice

 9   themselves, see Yitzchok Frankel v. Regents of the University of California, No. 2:24-
10 cv-04702-MCS-PD (C.D. Cal. 2024).

11         24.   Courts have recognized that the Department of Justice serves as the
12 sovereign arm of the executive branch and must adhere to the highest ethical and

13   constitutional standards, ensuring that legal proceedings are not tainted by deception
14 or procedural manipulation, including the concealment of material evidence to

15 obstruct justice. A deviation from these principles whether through misrepresentation,

16 suppression of evidence, perjury, false statements, or the refusal to preserve justice

17 from such government entities is an offense to the judicial system in itself, see

18   Chambers v. NASCO, Inc, 501 U.S. 32 (1991); Napue v. Illinois, 360 U.S. 264
19 (1959).
20         25.   Courts have found that attempts to suppress relevant evidence, even
21   from legal filings such as a motion for sanctions, constitutes as an obstruction of
22   justice as these obstructive tactics cause prejudicial bias against the party being
23   suppressed and a litigatory advantage to those such as the Department of Justice who
24   intend to suppress it, see United States v. King, 762 F.2d 242 (2d Cir. 1985); Ins.
25   Corp. ofIreland v. Compagnie des Bauxites de Guinee, 456 U.S. 694 (1982).
26         26.   Courts have ruled that removing or withholding material evidence from
27   the factual record is a violation of the due process clause, even if done through
28 procedural means, as courts are not permitted to administer procedural maneuvers to

                                            - 11 -
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 1 replace substantive justice and must guarantee that all litigants receive a fair

 2   opportunity to present their case without obstruction or the suppression of evidence,
 3 see Napue v. Illinois, 360 U.S. 264 (1959); Brady v. Maryland, 373 U.S. 83 (1963),

 4   as the court has inherent authority to intervene against a party who intends on
 5 obstructing justice, see Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980).

 6         27.   As a person with a disability Plaintiff may understand things differently,
 7   which can cause difficulties getting his standpoints addressed in this Court, and
 8 respectfully asks this Court to focus on the substance of what the Plaintiff is trying to

 9   explain, regardless of his impairments. Under the Code of Federal Regulations Title
10 28, Department of Justice, Section 35.108, a person with a disability that has a mental

11   or physical impairment that substantially limits one or more major life activity
12 includes, but is not limited to, major depression, reading, writing, speaking, or

13   learning.
14         28.   Plaintiff has a disability that limits his ability to effectively present his
15 viewpoints to this Court, he seeks to ensure that his concerns are fully interpreted and

16 addressed. Plaintiff is not an attorney whatsoever and is unfamiliar with how to

17 respond to the discovery requests. When drafting his responses Plaintiff recalled how

18 the Department of Justice counsel had submitted their responses to Plaintiffs

19 Complaint, see Defendant's Defensive Pleading, which were overseen and acted upon

20   by the honorable Federal Judges in this Court. Plaintiff was already anxious since the
21   honorable magistrate Judge Charles F. Eick had ordered Plaintiff to respond,
22   regardless of the facts demonstrated in Plaintiffs Opposition to Motion to Compel, or
23 honorable magistrate Judge Charles F. Eick would harshly punish the Plaintiff,

24   including dismissing this case. Given the Federal Judges continuous oversight of the
25 Department of Justice's Court filed documents, and the fact that the Federal Judges

26 regularly addressed any improperness made by the Department of Justice, the

27   Plaintiff reasonably believed that mirroring the professional structure and format used
28 by the Department of Justice would be an appropriate approach for his discovery

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 1 responses. Plaintiff is confused as to why his response is considered improper, despite

 2 having followed the example set by the Department of Justice counsel under this

 3 Court's supervision. Plaintiff respectfully requests clarification from this Court

 4 regarding the proper format and standard for discovery responses.
 5

 6                                     DATED: 2/l0/2...5
 7                                     Signature: Ed vii h No..ho..vo.n       t

 8                                     Plaintiff in Pro Per
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 1                 DECLARATION OF EDWIN HAMID NAHAVANDI
 2    I, Plaintiff EDWIN HAMID NAHAVANDI (hereinafter "Plaintiff'), declare as
 3   follows:
 4         1.    I have personal knowledge of the following facts, and, if called as a
 5   witness, I could and would competently testify thereto, as well as provide evidence, if
 6   available, to support my testimony.
 7         I declare under penalty of perjury that the foregoing is true and correct.
 8

 9                                         DATED: 2_/20/2S
10                                                        __•_ _ _o.
                                           Signature:_E_d_vl      _v_o.
                                                                     _ hd_l_ __
11                                      Plaintiff in Pro Per
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        EXHIBIT A
Firefox                                                          https://uscode.house.gov/view.xhtml?req=(title:5%20section:3331 %20e ...
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             5 USC 3331: Oath of office
             Text contains those laws in effect on February 18, 2025

             From Title 5-GOVERNMENT ORGANIZATION AND EMPLOYEES
                 PART Ill-EMPLOYEES
                 Subpart B-Employment and Retention
                 CHAPTER 33-EXAMINATION, SELECTION, AND PLACEMENT
                 SUBCHAPTER II-OATH OF OFFICE
             Jump To:
                 Source Credit




           §3331 . Oath of office
             An individual, except the President, elected or appointed to an office of honor or profit in the civil
           service or uniformed services, shall take the following oath: "I, AB, do solemnly swear (or affirm) that I
           will support and defend the Constitution of the United States against all enemies, foreign and domestic;
           that I will bear true faith and allegiance to the same; that I take this obligation freely, without any mental
           reservation or purpose of evasion; and that I will well and faithfully discharge the duties of the office on
           which I am about to enter. So help me God." This section does not affect other oaths required by law.
           ( Pub. L. 89-554, Sept. 6, 1966, 80 Stat. 424 .)

                                                     HISTORICAL AND REVISION NOTES
                                                                                               Revised Statutes and
                 Derivation                        U.S. Code
                                                                                                Statutes at Large
                                    5 U.S.C. 16.                              RS. §1757.
                                                                              May 13, 1884, ch. 46, §§2, 3, 23 Stat. 22 .

               All but the quoted language in R.S. §1757 is omitted as obsolete since R.S. §1757 was
           originally an alternative oath to the oath prescribed in R.S. §1756 which oath was repealed
           by the Act of May 13, 1884, ch . 46, §2, 23 Stat. 22. The words "An individual, except the
           President, ... in the civil service or uniformed services" are substituted for "any person ...
           either in the civil, military, or naval service, except the President of the United States". The
           second sentence of former section 16 is changed to read, "This section does not affect other
           oaths required by law.".
               Standard changes are made to conform with the definitions applicable and the style of this
           title as outlined in the preface to the report.
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        EXHIBITB
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        EXHIBIT C
Gmail - December 27, 2024 Timestamp                                           https://mail.google.com/maiVu/3/?ik=06390af74d&view=pt&search=a.. .
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                                                               ID #:722


                  Gmail                                                           Edwin Nahavandi <edwin.nahavandi@gmail.com>



         December 27, 2024 Timestamp
         1 message

         Edwin Nahavandi <edwin.nahavandi@gmail.com>                                        Fri, Dec 27, 2024 at 2:04 PM
         To: edwin.hamid.nahavandi@gmail.com, Edwin Nahavandi <edwin.nahavandi@gmail.com>, edovandi@gmail.com

           This email serves as a timestamp on 12/27/24 or December 27, 2024, in relation to case number 2:24-cv-03791-RGK-
           MRWx, now called 2:24-cv-03791-RGK(EX), towards Plaintiff's factual evidentory claims of Defendant CSU's
           contextually threatened intent of death, inferring deadly intent towards the Plaintiff, if a Plaintiff chose to sue them, as
           well as requesting a reserved summary judgement against a Plaintiff, and a dismissal of this lawsuit case for lack of
           evidence, in reference to a Plaintiff and Defendant, mentioned in Defendant CSU's campus, from Professor Thomas
           Wedel, who was the instructor for a math class that teaches supply chain management, purchasing and inventory,
           planning, and scheduling, and in no relevance relates to the teachings or education of the Law. The events of
           Defendant CSU's threats were conducted before Plaintiff even filed the lawsuit, and for safety reasons will be
           recorded and submitted on this Courts database after their threatened summary judgement that occured before the
           filing of this lawsuit, on Plaintiff's Opposition, if injury or death occurs in the event of this proceeding or after the event
           of this proceeding towards Plaintiff Edwin Hamid Nahavandi. Plaintiff is in the process of reaching the Federal Bureau
           of Investigation, also known as the FBI related to this matter and others, so they are aware of possible or foreseeable
           injury or death towards Plaintiff Edwin Hamid Nahavandi, based on the merits of what Defendant CSU is capable of.
           Plaintiff reserves the right to be able to drive and walk peacefully, go grocery shopping, go pray in the places of
           worship attuned to his Jewish religion, and to safely make it home, without injury or death.
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 72 of 117 Page
                                  ID #:723




        EXHIBITD
                Case 2:24-cv-03791-RGK-E                             Document 79-1 Filed 02/25/25                                 Page 73 of 117 Page
                                                                            ID #:724




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                 Title 18, U.S.C., Section 241 - Conspiracy Against Rights
                 This statute makes it unlawful for two or more persons to conspire to injure, oppress, threaten, or intimidate any person of any state, territory
                 or district in the free exercise or enjoyment of any right or privilege secured to him/her by the Constitution or the laws of the United States, (or
                 because of his/her having exercised the same).

                 It further makes it unlawful for two or more persons to go in disguise on the highway or on the premises of another with the intent to prevent
                 or hinder his/her free exercise or enjoyment of any rights so secured.

                 Punishment varies from a fine or imprisonment of up to ten years, or both; and if death results, or if such acts include kidnapping or an
                 attempt to kidnap, aggravated sexual abuse or an attempt to commit aggravated sexual abuse, or an attempt to kill, shall be fined under this
                 title or imprisoned for any term of years, or for life, or may be sentenced to death.


                 Title 18, U.S.C., Section 242 - Deprivation of Rights Under Color of Law
                 This statute makes it a crime for any person acting under color of law, statute, ordinance, regulation, or custom to willfully deprive or cause to
                 be deprived from any person those rights, privileges, or immunities secured or protected by the Constitution and laws of the U.S.

                 This law further prohibits a person acting under color of law, statute, ordinance, regulation or custom to willfully subject or cause to be
                 subjected any person to different punishments, pains, or penalties, than those prescribed for punishment of citizens on account of such
                 person being an alien or by reason of his/her color or race.

                 Acts under "color of any law" include acts not only done by federal, state, or local officials within the bounds or limits of their lawful authority,
                 but also acts done without and beyond the bounds of their lawful authority; provided that, in order for unlawful acts of any official to be done
                 under "color of any law," the unlawful acts must be done while such official is purporting or pretending to act in the performance of his/her
                 official duties. This definition includes, in addition to law enforcement officials, individuals such as Mayors, Council persons, Judges, Nursing
                 Home Proprietors, Security Guards, etc., persons who are bound by laws, statutes ordinances, or customs.

                 Punishment varies from a fine or imprisonment of up to one year, or both, and if bodily injury results or if such acts include the use, attempted
                 use, or threatened use of a dangerous weapon, explosives, or fire shall be fined or imprisoned up to ten years or both, and if death results, or
                 if such acts include kidnapping or an attempt to kidnap, aggravated sexual abuse or an attempt to commit aggravated sexual abuse, or an
                 attempt to kill, shall be fined under this title, or imprisoned for any term of years or for life, or both, or may be sentenced to death.
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                                  ID #:725




        EXHIBITE
Gmail - Requests                                                           https://mail.google.com/maiVu/3/?ik=06390af74d&view=pt&search=a.. .
                 Case 2:24-cv-03791-RGK-E             Document 79-1 Filed 02/25/25                 Page 75 of 117 Page
                                                             ID #:726


                    Gmail                                                      Edwin Nahavandi <edwin.nahavandi@gmail.com>



         Requests
         1 message

         Edwin Nahavandi <edwin.nahavandi@gmail.com>                                          Fri, Jan 17, 2025 at 3:03 PM
         To: Edwin Nahavandi <edwin.nahavandi@gmail.com>, "Benjamin G. Diehl" <Benjamin.Diehl@doj.ca.gov>, Cristina
         Matsushima <Cristina.Matsushima@doj.ca.gov>
         Cc: edovandi@gmail.com, edwin.hamid.nahavandi@gmail.com

           Defendant CSU,

           Here are the requests. I don't have custody and control, for possession, of the other requests for production. I'm
           aware that Defendant CSU, under penalty of perjury, stated that they have sent everything in their custody and
           control, for possession, but could you please give me access to my CSU account, which has the material you
           requested in Defendant CSU's custody and control, for possession ...

           I need to obtain the CANVAS messages in relation to my agreement with Defendant CSU to attack and harm the
           Jewish people.

             ~     Requests.zip
                   6677K
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                                  ID #:727




        EXHIBIT F
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                                                         ID #:728


                               the Student is not permitted: (i) on University Property or specified areas of
                               Campus 9, or (ii) to have contact (physical or otherwise) with the Complainant,
                               witnesses or other specified persons.
                          5. Disciplinary Probation. A designated period of time during which privileges of
                             continuing in Student status are conditioned upon future behavior. Conditions may
                             include the potential loss of specified privileges to which a current Student would
                             otherwise be entitled, or the probability of more severe disciplinary sanctions if the
                             Student is found to violate the Student Conduct Code or any University policy during
                             the probationary period.
                          6. Suspension. Temporary separation of the Student from Student status from the
                             California State University system.
                                       a. A Student who is suspended for less than one academic year shall be
                                          placed on inactive Student (or equivalent) status (subject to individual
                                          Campus policies) and remains eligible to re-enroll at the University or
                                          another campus (subject to individual Campus enrollment policies) once
                                          the suspension has been served. Conditions for re-enrollment may be
                                          specified.
                                       b. A Student who is suspended for one academic year or more shall be
                                          separated from Student status but remains eligible to reapply to the
                                          University or another campus (subject to individual Campus application
                                          polices) once the suspension has been served. Conditions for readmission
                                          may be specified.
                                        c. Suspension of one academic year or more, withdrawals in lieu of
                                           suspension, and withdrawals with pending misconduct investigations or
                                           disciplinary proceedings shall be entered on the Student's transcript
                                           permanently without exception; this requirement shall not be waived in
                                           connection with a resolution agreement.

                          7. Expulsion. Permanent separation of the Student from Student status from the
                             California State University system. Expulsion, withdrawal in lieu of expulsion, and
                             withdrawal with pending misconduct investigation or disciplinary proceeding shall
                             be entered on the Student's transcript permanently, without exception; this
                             requirement shall not be waived in connection with a resolution agreement.

            B. Multiple Sanctions
                 More than one sanction may be imposed for a single violation.
            C. Good Standing
                 A Student is not considered to be in good standing for purposes of admission to the University
                 while under a sanction of suspension or expulsion, or while his or her admission or re-
                 admission has been qualified 10 .
            D. Administrative Hold and Withholding a Degree
               The University may place an administrative hold on registration transactions and release of
               records and transcripts of a Student who has been sent written notice of a pending
               investigation or disciplinary case concerning that Student, and may withhold awarding a
               degree otherwise earned until the completion of the process set forth herein, including the


Student Conduct Process. Retrieved 2/19/2025. Official copy at http://calstate.policystat.com/policy/ 14075291/. Copyright ©   Page 18 of 21
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  Case 2:24-cv-03791-RGK-E                        Document 79-1 Filed 02/25/25                            Page 78 of 117 Page
                                                         ID #:729


                 completion of all sanctions imposed.
            E. Record of Discipline
                 A record of disciplinary probation or suspension is entered on a Student's transcript, with
                 beginning and end date, for the duration of the sanction. A record of expulsion or suspension
                 for one academic year or more shall note the effective date of discipline and remains on the
                 transcript permanently, without exception. A record of withdrawal in lieu of suspension or
                 expulsion and withdrawal with pending misconduct investigation or disciplinary proceeding
                 remains on the transcript permanently, without exception. These requirements shall not be
                 waived in connection with any resolution agreement.


    Article VI. Interim Suspension
            A. Grounds
                 A president may impose an interim suspension pursuant to Title 5, California Code of
                 Regulations, section 41302 where there is reasonable cause to believe that separation of a
                 Student is necessary to protect the personal safety of persons within the University community
                 or University Property, and to ensure the maintenance of order.
            B. Notice and Opportunity for Hearing
                 A Student placed on interim suspension shall be given prompt notice of the charges pending
                 against him or her as enumerated in Title 5, California Code of Regulations, section 41302 and
                 a factual description of the conduct alleged to form the basis for the charges. The Student
                 may request a hearing to determine whether continued interim suspension is appropriate by
                 filing a request with the Student Conduct Administrator. The Student Conduct Administrator
                 will notify the Hearing Officer.
                 In matters subject to Article IV, the Student Conduct Administrator will also notify the
                 Complainant and the Title IX Coordinator or DHR Administrator. The Complainant may
                 participate in any hearing conducted pursuant to this section.
                 Within 1O Working Days of the request, the Hearing Officer shall conduct a hearing to
                 determine whether there is reasonable cause to believe that the continued interim separation
                 of the Student is necessary to protect the personal safety of persons within the University
                 community or University Property, and to ensure the maintenance of orderl l.
                 The hearing is conducted pursuant to the provisions of Article Ill. D or Article IV. G of these
                 procedures, as appropriate.
                 The president shall review the Hearing Officer's report and shall promptly issue a final decision
                 regarding interim suspension. Notice to the Student charged and to the Complainant (in
                 matters subject to Article IV) shall be sent to the University-assigned or other primary e-mail
                 address linked to the party's University account. The final decision shall also be provided to the
                 DHR Administrator or the Title IX Coordinator where appropriate.
                 If the University establishes that there is reasonable cause for the interim suspension to
                 continue, it shall remain in effect until the University closes the disciplinary matter, whether by
                 resolution agreement, final decision or dropped charges, but in no case longer than the
                 president has determined is required to protect the personal safety of persons within the
                 University community or University Property, and to ensure the maintenance of order.
            C. Denial of Presence on Campus
                 During the period of an interim suspension, the Student charged may not, without prior written
                 permission from the Campus president, enter any Campus of the California State University


Student Conduct Process. Retrieved 2/19/2025. Official copy at http://calstate.policystat.com/policy/ 14075291/. Copyright ©   Page 19 of 21
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       EXHIBITG
Firefox                                                      https://uscode.house.gov/view.xhtml?req=granuleid:USC-1999-title28a...
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           Failure of United States to Participate in Good Faith in Discovery. Rule 37 authorizes the court to
           direct that parties or attorneys who fail to participate in good faith in the discovery process
           pay the expenses, including attorney's fees, incurred by other parties as a result of that
           failure. Since attorneys' fees cannot ordinarily be awarded against the United States (28
           U.S.C. §2412), there is often no practical remedy for the misconduct of its officers and
           attorneys. However, in the case of a government attorney who fails to participate in good
           faith in discovery, nothing prevents a court in an appropriate case from giving written
           notification of that fact to the Attorney General of the United States and other appropriate
           heads of offices or agencies thereof.
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       EXHIBITH
U.S. Department of Education Probes Cases of Antisemitism at Five Un...        https://www.ed.gov/about/news/press-release/us-department-of-educati...
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           PRESS RELEASE


           U.S. Department of Education Probes Cases of
           Antisemitism at Five Universities
           U.S. Department Investigating Five Universities Where Widespread
           Antisemitic Harassment has Been Reported


           FEBRUARY 3, 2025




                  WASHINGTON - Pursuant to President Trump's Executive Order, Additional
                  Measures to Combat Anti-Semitism. the U.S. Department of Education today
                  announced investigations into five institutions of higher education where
                  widespread antisemitic harassment has been reported . The investigations are
                  in response to the explosion of antisemitism on American campuses following
                  the Hamas massacre of Israeli civilians on Oct. 7. 2023.

                  The Department's Office for Civil Rights (OCR) is opening the investigations
                  under Title VI of the Civil Rights Act (1964). which protects students from
                  discrimination and harassment based on national origin. including shared
                  ancestry. The schools are:

                   • Columbia University
                   • Northwestern University
                   • Portland State University
                   • The University of California. Berkeley
                   • The University of Minnesota. Twin Cities
U.S . Department of Education Probes Cases of Antisemitism at Five Un ...   https://www.ed.gov/about/news/press-release/us-department-of-educati ...
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                "Too many universities have tolerated widespread antisemitic harassment and
                the illegal encampments that paralyzed campus life last year, driving Jewish
                life and religious expression underground. The Biden Administration's toothless
                resolution agreements did shamefully little to hold those institutions
                accountable," said Craig Trainor, Acting Assistant Secretary for Civil
                Rights. "Today, the Department is putting universities, colleges, and K-12
                schools on notice: this administration will not tolerate continued institutional
                indifference to the wellbeing of Jewish students on American campuses, nor
                will it stand by idly if universities fail to combat Jew hatred and the unlawful
                harassment and violence it animates."

                These investigations build upon the foundational work of the House
                Committee on Education and the Workforce under then-Chairwoman Virginia
                Foxx, which found that university administrations "overwhelmingly failed" to
                protect or support their Jewish students, even making "astounding
                concessions" to illegal, anti-American encampments.

                The Department of Education looks forward to working with the Department of
                Justice and the Department of Health and Human Services as a part of today's
                announced task force to combat antisemitism.
U.S . Department of Education Probes Cases of Antisemitism at Five Un ...   https://www.ed.gov/about/news/press-release/us-department-of-educati...
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Antisemitism on College Campuses Exposed, Education and the Workfo .. .   https://edworkforce.house.gov/news/documentsingle.aspx?Documentl. ..
                Case 2:24-cv-03791-RGK-E               Document 79-1 Filed 02/25/25              Page 85 of 117 Page
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         Antisemitism on College Campuses Exposed,
         Education and the Workforce Committee Releases
         Report
         WASHINGTON, D.C., October 31, 2024
         WASHINGTON - Based on a year-long investigation, the Committee on Education and the
         Workforce majority, under Chairwoman Virginia Foxx (R-NC), has released finding~ on how
         antisemitism engulfed college campuses while administrators put the wants of terrorist
         sympathizers over the safety of Jewish students, faculty, and staff.

           "For over a year, the American people have watched antisemitic mobs rule over so-called elite
         universities, but what was happening behind the scenes is arguably worse. While Jewish students
         displayed incredible courage and a refusal to cave to the harassment, university administrators,
         faculty, and staff were cowards who fully capitulated to the mob and/ailed the students they were
         supposed to serve," said Chairwoman Foxx. "Our investigation has shown that these 'leaders'
         bear the responsibility for the chaos likely violating Title VI and threatening public safety. It is
          time for the executive branch to enforce the laws and ensure colleges and universities restore
         order and guarantee that all students have a safe learning environment."
           The report's findings clearly support four conclusions:

              1. University administrators made astounding concessions to the organizers of
                 illegal encampments. For example, in the case of Northwestern University
                 (Northwestern), administrators entertained demands to hire an "anti-Zionist" rabbi and
                 divest from and remove Sabra Hummus from campus cafeterias.
              2. University administrators deliberately chose to withhold supportfrom Jewish
                 students. Harvard University's (Harvard) decision making was particularly egregious, as
                 demonstrated by choices to intentionally omit condemnation of Hamas and acknowledgment
                  of hostages in its widely-criticized equivocal statement on the October 7 attacks, and then-
                 President Claudine Gay asking Harvard Corporation Senior Fellow not to call the phrase
                 "From the River to the Sea" antisemitic hate speech.
              3. University administrators overwhelmingly failed to impose meaningful
                 discipline for those who engaged in antisemitic conduct. Across the board,
                 enforcement of campus rules was wildly uneven, from Harvard and Columbia faculty playing
                 key roles in derailing discipline toward antisemitic conduct violations and Rutgers University
                 (Rutgers) actually disciplining Jewish students who spoke out against the harassment, to the
                 overall lack of consequences for those involved in encampments at schools including the
                 University of California, Los Angeles (UCLA), University of California, Berkeley (UC
                 Berkeley), Yale University (Yale), and the Massachusetts Institute of Technology (MIT).
              4. University administrators considered Congressional oversight a nuisance at
                 best and with open hostility at worst. Administrators at the University of Pennsylvania
                 (Penn), for instance, attempted to orchestrate negative media coverage of Members of
                 Congress who scrutinized the university while Harvard president Claudine Gay disparaged
                 U.S. Representative Elise Stefanik's (R-NY) character to the university's Board of Overseers.

         Throughout the investigation, more than 400,000 pages of documents have been obtained-some
         via the first subpoenas to universities in the Committee's 157-year history-and transcribed
         interviews were conducted, all examining universities across the country.
Antisemitism on College Campuses Exposed, Education and the Workfo .. .   https://edworkforce.house.gov/news/documentsingle.aspx?Documentl. ..
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                                                              ID #:737
           Click here to read the re12ort.

          BACKGROUND AND TIMELINE OF INVESTIGATION:

              • December 5, 2023: The Committee on Education and the Workforce holds its first full
                committee hearing examining the outbreak of antisemitism on college campuses following the
                October 7 attacks. The hearing, titled "Holding Campus Leader Accountable and Confronting
                Antisemitism," featured abysmal testimony from Dr. Claudine Gay of Harvard, Ms. Liz Magill
                of Penn, Dr. Pamela Nadell of American University, and Dr. Sally Kornbluth of MIT.
              • December z, 2023: Foxx announces the formal investigation into Harvard, Penn, and MIT,
                and puts other colleges on notice, saying that "disgusting targeting and harassment of Jewish
                students is not limited to these institutions, and other universities should expect
                investigations as well, as their litany of similar failures has not gone unnoticed."
              • January_9., 2024_: The Committee makes its first document request of Harvard, citing Dr.
                Gay's testimony before Congress as a failure to address the longstanding and pervasive
                antisemitism on campus.
              • January 24, 2024_: The Committee makes its first document request of Penn, and calls into
                question the university's "clear double standard" that tolerates "antisemitic vandalism,
                harassment, and intimidation, but suppresses and [penalizes] other expression it deemed
                problematic."
              • February 12, 2024: The Committee makes its first document request of Columbia, outlining
                the numerous public incidents of antisemitism, including vandalism and assault, taking place
                on campus.
              • February 16, 2024: Harvard's failure to produce requested documents results in compulsory
                measures on the part of the Committee. For the first time in the 157-year history of the
                Committee, a subpoena is issued to an institution of higher education.
              • February 29., 2024_: Foxx and other Members hear from Jewish students attending Harvard,
                Penn, MIT, Columbia, UC Berkeley, Rutgers, Stanford University, Tulane University, and
                Cooper Union for the Advancement of Science and Art about their experiences with
                antisemitism on campus.
              • March 8, 2024_: The Committee makes its first document request of MIT, highlighting the
                disparity between the university's rosy assessment of the campus environment with student
                responses that said the majority of Jewish students did not feel comfortable being Jewish or
                Israeli on campus, and majority did not feel the university's actions were adequate.
              • March 18, 2024: The Committee conducts a transcribed interview with former Harvard
                Antisemitism Advisory Group Member, Dr. Dara Horn.
              • March 19, 2024: The Committee makes its first document request of UC Berkeley, following
                the violent riot that began as an anti-Israel protest and months-long failure to keep Jewish
                students safe.
              • March 27-, 2024_: The Committee makes its first document request of Rutgers, which has
                drawn fire for what students called a "selective enforcement of [University] rules," including
                the decision to open disciplinary proceedings against an Orthodox Jewish law student who
                pushed back on antisemitic, pro-Hamas messages.
              • A12ril 17-, 2024: Foxx holds a hearing titled "Columbia in Crisis: Columbia University's
                Response to Antisemitism," which focuses on the stunning failure of the university to address
                the situation on campus, from lax disciplinary action to the retention of faculty members who
                hold pro-terror views.
              • MaY- 23, 2024: Foxx holds a hearing titled "Calling for Accountability: Stopping Antisemitic
                College Chaos," with the presidents of Rutgers and Northwestern, as well as the chancellor of
                UCLA testifying. The hearing honed in on the illegal encampments that had broken out on
                campuses across the country.
              • June 20, 2024: The Committee conducts a transcribed interview with Yale President Peter
Antisemitism on College Campuses Exposed, Education and the Workfo .. .   https://edworkforce.house.gov/news/documentsingle.aspx?Documentl. ..
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                Salovey.
              • August 9., 2024 : The Committee conducts a transcribed interview with University of Michigan
                President Santa Ono.
              • August 21, 2024_: Following repeated failures to turn over documents necessary to the
                Committee's investigation, a subpoena is issued for Columbia, specifically seeking
                information on the "Gaza Solidarity Encampment," and Board of Trustees communications.
              • August 29., 2024_: The Committee conducts a transcribed interview with Penny Pritzker,
                Senior Fellow, Harvard Corporation.
Defining Anti-Semitism - United States Department of State                         https://2017-2021.state.gov/defining-anti-semitism/
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          Defining Anti-Semitism - United States Department
          of State
          The Department of State has used a working definition, along with examples, of anti-Semitism
          since 2010. On May 26, 2016, the 31 member states of the International Holocaust Remembrance
          Alliance (IHRA), of which the United States is a member, adopted a non-legally binding "working
          definition" of anti-Semitism at its plenary in Bucharest. This definition is consistent with and builds
          upon the information contained in the 2010 State Department definition. As a member of IHRA,
          the United States now uses this working definition and has encouraged other governments and
          international organizations to use it as well.
          Bucharest, 26 May 2016
          In the spirit of the Stockholm Declaration that states: "With humanity still scarred by ...
          antisemitism and xenophobia the international community shares a solemn responsibility to fight
          those evils" the committee on Antisemitism and Holocaust Denial called the IHRA Plenary in
          Budapest 2015 to adopt the following working definition of antisemitism.
          On 26 May 2016, the Plenary in Bucharest decided to:
          Adopt the following non-legally binding working definition of antisemitism :
          "Antisemitism is a certain perception of Jews, which may be expressed as hatred toward Jews.
          Rhetorical and physical manifestations of antisemitism are directed toward Jewish or non-Jewish
          individuals and/or their property, toward Jewish community institutions and religious facilities."
          To guide IHRA in its work, the following examples may serve as illustrations:
          Manifestations might include the targeting of the state of Israel, conceived as a Jewish collectivity.
          However, criticism of Israel similar to that leveled against any other country cannot be regarded as
          antisemitic. Antisemitism frequently charges Jews with conspiring to harm humanity, and it is
          often used to blame Jews for "why things go wrong." It is expressed in speech, writing, visual forms
          and action, and employs sinister stereotypes and negative character traits.
          Contemporary examples of antisemitism in public life, the media, schools, the workplace, and in the
          religious sphere could, taking into account the overall context, include, but are not limited to:

              • Calling for, aiding, or justifying the killing or harming of Jews in the name of a radical
                ideology or an extremist view of religion.
              • Making mendacious, dehumanizing, demonizing, or stereotypical allegations about Jews as
                such or the power of Jews as collective - such as, especially but not exclusively, the myth
                about a world Jewish conspiracy or of Jews controlling the media, economy, government or
                other societal institutions.
              • Accusing Jews as a people of being responsible for real or imagined wrongdoing committed by
                a single Jewish person or group, or even for acts committed by non-Jews.
              • Denying the fact, scope, mechanisms (e.g. gas chambers) or intentionality of the genocide of
                the Jewish people at the hands of National Socialist Germany and its supporters and
                accomplices during World War II (the Holocaust
              • Accusing the Jews as a people, or Israel as a state, of inventing or exaggerating the Holocaust.
              • Accusing Jewish citizens of being more loyal to Israel, or to the alleged priorities of Jews

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Defining Anti-Semitism - United States Department of State                         https://2017-2021. state.gov/defining-anti-semitism/
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                worldwide, than to the interests of their own nations.
              • Denying the Jewish people their right to self-determination, e.g., by claiming that the
                existence of a State of Israel is a racist endeavor.
              • Applying double standards by requiring of it a behavior not expected or demanded of any
                other democratic nation.
              • Using the symbols and images associated with classic antisemitism (e.g., claims of Jews
                killing Jesus or blood libel) to characterize Israel or Israelis.
              • Drawing comparisons of contemporary Israeli policy to that of the Nazis.
              • Holding Jews collectively responsible for actions of the state of Israel.

         Antisemitic acts are criminal when they are so defined by law (for example, denial of the
         Holocaust or distribution of antisemitic materials in some countries).
          Criminal acts are antisemitic when the targets of attacks, whether they are people or property
          - such as buildings, schools, places of worship and cemeteries - are selected because they are, or
          are perceived to be, Jewish or linked to Jews.

         Antisemitic discrimination is the denial to Jews of opportunities or services available to others
         and is illegal in many countries.




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         EXHIBIT I
                        ORES - Alternative Testing - Next Steps to Scheduling Your Exams
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                                              ID #:742
Subject: DRES - Alternative Testing - Next Steps to Scheduling Your Exams
From: noreply-2-sait@csun.edu
Date: 8/31/2021, 8:10 AM
To: edwin.nahavandi.360@my.csun.edu


Dear Edwin,

A DRES counselor has approved your first alternative testing accommodation request f o r - ·

Note: Your instructor,               will also receive an email that you have approved alternative
testing accommodations for this course.


Your next steps
Please contact your instructor as soon as possible to communicate how you will use your testing
accommodations and to confirm how they will be provided.



Your accommodations may be provided in the
following ways
   • For fully online courses (FOA, FOS, FOi ) your instructor will provide your testing
     accommodations for exams (quizzes, midterms, and final) online.

   • For on-campus courses, your instructor or DRES will proctor the exams.
         o If DRES is proctoring your exams, your instructor must first log in to SAAS and create an
           exam profile for the course before you can schedule an exam.



Managing On-Campus Exams
You are responsible for managing your alternative testing exam schedule (requesting exams,
cancellations, etc.) for on-campus exams. Please follow these next steps:

   • Log in to SAAS and add your exam date(s) and time(s). You can refer to this video on adding
     exams.
   • Schedule exams 5 days in advance for regular exams and 10 days in advance for final exams.
     Please refer to the DRES Alternative Testing Hours on the DRES homeRage.

If you or your course instructor have any questions, please contact the DRES office at any time for
assistance by calling (818) 677-2684 or emailing dres@csun.edu .

This automatic email was generated by the Student Access and Accommodation System (SAAS) and
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 92 of 117 Page
                                  ID #:743




         EXHIBIT J
        Case 2:24-cv-03791-RGK-E                            Document 79-1 Filed 02/25/25                                Page 93 of 117 Page
                                                                   ID #:744
 STATE OF CALIFORNIA                                                                DOCUMENT NUMBER                                 AMENDMENT NUMBER
 DEPARTMENT OF REHABILITATION
 AUTHORIZATION AND INVOICE FOR DIRECT SERVICE                                                                                          I
 FEES                                                                               REGISTRATION NUMBER                             ISSUE DATE
 DR 297F (06/18)
                                                                                                                                       02/10/23
 DATES OF SERVICE

        01/23/23 TO 05/12/23
 TO: (VENDOR/CONTRACTOR'S NAME AND ADDRESS)
      CSU, Northridge - University Cash Services
      University Cash Services
                                                                                    -
                                                                                    COUNSELOR'S NAME




                                                                                    CONSUMER'S NAME, ADDRESS AND TELEPHONE
                                                                                    Nahavandi Edwin
                                                                                    5710 Comanche Ave
                                                                                                                                       -
                                                                                                                                    CASELOAD CODE




      18111 Nordhoff Street                                                         Woodland Hills, CA 91367
      Northridge, CA 91330                                                          (818) 569-9673
      (818) 677-3115

 DOR Use Only: CALIFORNIA STATE UNIVERSITY NORTHRIDGE

                                                                                                 SERVICE OF COSTS
                          DESCRIPTION OF SERVICES                                 l=======;==========~QTY                                      TOTAL AMOUNT
                                                                                      RATE           UNIT (HR, DAY, ETC)

95C                Four-Year College/University- Public:                                     $                                      1.00               $2,281.00
                   Tuition                                                         2,281.00
                   Spring 2023 Tuition
                   STUDENT ID: -
                   Cost/DOR responsibility: $2,281.00

                   Graduate Tuition: $4,363.00
                   State University Grant: $2,082.00




95E                Four-Year College/University - Public:                          $ 219.61                                         1.00                  $ 219.61
                   Parking Fees
                   Parking for Spring 2023 term
                   Cost: $219.61
                                                                         TOTAL                                                                          $2,500.61

                                                                                    Consumer's name must appear on the invoice and services must be clearly itemized.
 SEND INVOICE/PROGRESS REPORT (DR226) TO:                                           Note: Invoices for training and private tuition must include a report of progress
                                                                                    priority to payment.
        DEPARTMENT OF REHABILITATION                                                General Terms and Conditions are incorporated by reference GTC-610 can be found
                                                                                    at:
        15400 SHERMAN WAY SUITE 140
                                                                                    https·//www des ca eov/OLS/Resources/Paee-Content/Office-of-Leeal-
        VAN NUYS, CA 91406                                                          Services-Resources-List-Folder/Standard-Contract-Language
===========================II Invoices are paid in accordance with the Prompt Payment Act
                                                                                    http://Jeginfo.legislature.ca.gov/faces/codes displaySection.xhtml?
                 DEPARTMENT CERTIFICATION AND APPROVAL                              lawCode=GOV&sectionNum=927 &hii:htii:ht=true&keyword=Prompt%20Payment
I HEREBY CERTIFY, upon my own personal knowledge that this authorization for
the vocational rehabilitation services specified above is issued in accordance with
the procedure prescribed by law governing the purchase ofsuch items for the State
of California; that all such legal requirements have been fully complied with; and
that budgeted fonds are available for the period and purpose of the expenditure     SIGNATURE OF VENDOR/CONTRACTOR
stated above.


 AUTHORIZED SIGNATURE                                                               VENDOR/CONTRACTOR TITLE                         DATE OF INVOICE
        Case 2:24-cv-03791-RGK-E                                 Document 79-1 Filed 02/25/25                                      Page 94 of 117 Page
                                                                        ID #:745
STATE OF CALIFORNIA                                                                                                                      DEPARTMENT OF REHABILITATION
AUTHORIZATION AND INVOICE FOR DIRECT SERVICE FEES
DR297F (05/2020)
                                                                    BILLING INSTRUCTIONS
 1.       GOVERNING LAW: The services resulting from this contract shall be governed by and shall be interpreted in accordance with the laws of the State of
          California and applicable Federal laws, rules, policies and regulations.


2.        REQUIRED PAYMENT DATE: Payment will be made in accordance with the provisions of the California Prompt Payment Act, Government Code
          Section 927 et seq. Unless expressly exempted by statue, the Act requires state agencies to pay properly submitted, undisputed invoices, not more than 45 days after
          (a) the date of acceptance of goods or the performance of services; or (b) receipt of an undisputed invoice, whichever is later.


3.        AMENDMENTS/CHANGES: No change or modification to the terms, quantities or specifications of the services listed in this authorization may be
          made without the approval of the DOR. Unauthorized amendments/changes will not be paid for.


4.        INVOICES: Enter the date of service and amount billed for each service authorized. Return original with signature, title, date of invoice and a notation of yes
          or no regarding corporation status to the Department of Rehabilitation (DOR) at the "Send Invoice/Report to:" address. All invoices must be dated. Retain a copy for
          your files.
          The State of California requires that all parties entering into business transactions that may lead to payment(s) from the State must provide their 9 digit Taxpayer
          Identification Number (TIN) as required by the State Revenue and Taxation Code, Section 18646, to facilitate tax compliance enforcement activities and preparation
          of Form 1099 and other information as required by Internal Revenue Code Section 6109(a). The TIN for individuals and sole proprietors is the Social Security
          Number (SSN).




                                   CONFIDENTIALITY OF PERSONAL CONSUMER INFORMATION
The Vendor agrees that any report or material created during the performance of this contract will not be released to any source except as required by this contract or otherwise
authorized by the State. Any information obtained for the performance of services is confidential and shall not be published or open to public inspection in any manner, except
as authorized by the State. Vendor agrees to maintain the confidentiality of any information concerning any individual consumers it may obtain in the performance of this
contract, and specifically agrees to comply with the provisions applicable to such information as set forth in 34 CFR of Federal Regulations, Section 361.38, Title 9, California
Code of Regulations, Section 7140 et seq., and the Information Practices Act of 1977 (California Civil Code Section 1798 et seq.) The Vendor agrees to report any security
breach or incident involving DOR consumers' personal information to the DOR authorizing representative listed on page I and DO R's Information Security Officer. The
DOR's Information Security Officer can be contacted via e-mail at isoinfo@dor ca !WY,

                                          TERMS AND CONDITIONS AND VENDOR ACCEPTANCE
By accepting this authorization, Vendor/Contractor is acknowledging full review and acceptance of the State's terms and conditions located at
https://www.dor.ca.gov/HomeNocationa!RehabilitationServiceProviders,
https:Uwww dgs.ca i:ov/OLS/Resources/Page-Content/Office-of-Lei:al-Seryices-Resources-List-Folder/Standard-Contract-Language and made a part of this agreement by this
reference as if attached hereto.

                                                              DEBARMENT AND SUSPENSION
By accepting and fulfilling this agreement for goods and/or services, the vendor/contractor certifies that neither it nor its principals is presently debarred, suspended, declared
ineligible, or voluntarily excluded from participation in this transaction by any Federal department or agency.
https·//www sam goy/SAM/pages/pub)ic/jndex jsf

                                                       VOID FORT AX DELINQUENCY (AB1424)
Any agreement that a state agency enters into after July I, 2012, is void if the contract is between a state agency and a vendor/contractor whose name appears on either list of
the 500 largest tax delinquencies pursuant to Section 7063 or 19195 of the Revenue and Taxation Code. (Public Contract Code sec. 10295.4). In accordance with Public
Contract Code Section I 0295.4, agencies are required to cancel agreements with entities that appear on either list. (Franchise Tax Board)
https·//www ftb ca goy/about-ftb/newsroom/top-500-past-due-ba)ances/jndex htm). California Department of Tax Fee Administration CDTFA)
https·//www cdtfa ca goy/taxes-and-fees/top500 htm
Additional training and awareness tools are available at the California Office of Information Security and Privacy Protection (OISPP) website. OISPP created the self-training
manual, "Protecting Privacy in State Government" that DOR revised to meet its business needs.

                                                                DARFUR CONTRACTING ACT
By agreeing to this purchase, pursuant to Public Contract Code section I 04 78, the vendor does not currently nor has within the previous three years had business activities or
other operations outside of the United States and certifies that it is not a "scrutinized" company as defined in Public Contract Code section 10476.
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 95 of 117 Page
                                  ID #:746




       EXHIBITK
Thy Monaco I CSU                                             https://www.calstate.edu/csu-system/administration/general-counsel/fin...
             Case 2:24-cv-03791-RGK-E       Document 79-1 Filed 02/25/25               Page 96 of 117 Page
                                                   ID #:747


        Thy Monaco I CSU
        Thy Monaco joined the California State University Office of General Counsel in September 2014.
        Thy is the University Counsel for California State University, Northridge and a member of the
        External Relations team. She previously was University Counsel at California State University, San
        Bernardino. Prior to that she served on the Office of General Counsel's Litigation Team and was
        responsible for litigating a variety of systemwide and campus-based matters in state and federal
        courts. Thy serves as a resource attorney for financial aid, bankruptcy, cannabis/hemp and
        international activities. Prior to joining the CSU, she was a Deputy Attorney III for the California
        Department of Transportation for approximately eight years, litigating eminent domain,
        catastrophic personal injury and employment matters. Thy started her legal career as a staff
        attorney for the Public Law Center, focusing on human trafficking, disability rights and the
        Southeast Asian Legal Outreach Program.



        Education:

            • J .D., Loyola Law School, Los Angeles (2003)
            • Staff Member, Loyola of Los Angeles Entertainment Law Review
            • B.A., Sociology, University of California, San Diego (1996)

        Other Legal Experience:

            • Judicial Extern for the Hon. Samuel L. Bufford, United States Bankruptcy Judge, Central
              District
            • Judicial Extern for ALJ Pamela Sellers, U.S. Equal Employment Opportunity Commission

        Contact:
        Phone: (562) 951-4500
        Fax: (562) 951-4956
        tmonaco@calstate.edu

        Support Staff:
        Michelle Sarria
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 97 of 117 Page
                                  ID #:748




        EXHIBITL
Case 2:24-cv-03791-RGK-E           Document 79-1 Filed 02/25/25             Page 98 of 117 Page
                                          ID #:749
                     STANLEY R. APPS, ATTORNEY AT LAW
                     (3rn) 709-3966                                 stan@appsatlaw.com

April 28, 2023

Dr. Zeina Otaky-Ramirez
Assistant Dean of Students & Director of Student Conduct and Ethical Development
California State University Northridge
18111 Nordhoff Street
Northridge, CA 91330-8239

Dr. William Watkins, Vice President of Student Affairs
California State University Northridge
18111 Nordhoff Street
Northridge, CA 91330-8239

Thy Monaco, University Counsel
California State University, Office of General Counsel
401 Golden Shore
Long Beach, CA 90802

Sent via U.S. Certified Mail and via email to: zeina.ramirez@csun.edu; maria.angell@csun.edu;
                                               tmonaco@calstate.edu

RE: Notice of Legal Representation of Student Edwin Nahavandi
    as to Student Conduct Case Number: 2022005901;
    Demand for Manifestation of Disability Hearing under §504 of the Rehabilitation Act
    and Objections to Scheduled Student Conduct Hearing

Dear Vice President Watkins, Dean Otaky-Ramirez, and University Counsel Monaco:

       Please be notified that I have been retained as legal counsel by Mr. Edwin Nahavandi and
his family, to assist Mr. Nahavandi regarding California State University Northridge Student
Conduct Case No. 2022005901.

         First, as you are likely aware, Mr. Nahavandi is a student with disabilities whose
attendance at the University is sponsored and fully-funded by the California Department of
Rehabilitation. He is recognized by the state as a person whose disabilities substantially limit his
ability to participate in multiple major activities of daily life, including thinking, concentrating,
decision-making, problem-solving, self-advocacy, emotional regulation, and other major
activities of daily living relevant to his attendance at the University. His mental health
disabilities include without limitation: auditory processing disorder, major depression, and severe
anxiety. Due to his disabilities and his status as a student sponsored by the Department of
Rehabilitation, Mr. Nahavandi is entitled to the protections of California law and federal law
applicable to students with disabilities. It is my contention that the incidents that are the basis of
the proposed Student Conduct Hearing constitute a manifestation or manifestations of Mr.
Nahavandi's disabilities.
Case 2:24-cv-03791-RGK-E          Document 79-1 Filed 02/25/25             Page 99 of 117 Page
                                         ID #:750
                     STANLEY R. APPS, ATTORNEY AT LAW
                     (3rn) 709-3966                                stan@appsatlaw.com

        Because the behaviors addressed by the Notice of Conduct Hearing constitute a
manifestation or manifestations of Mr. Nahavandi's mental health disabilities, Mr. Nahavandi is
entitled to a Manifestation Hearing pursuant to Section 504 of the Rehabilitation Act of 1973
before any Student Conduct Hearing can take place. The Student Conduct Hearing can only go
forward ifit is determined that Mr. Nahavandi's email behavior was not a manifestation of his
disabilities, including his severe anxiety and resulting panic attacks, triggered when he was
exposed to disturbing anti-Semitic messages and statements on the California State University
N orthridge campus.

        As you may know, Mr. Nahavandi is Jewish, and he has experienced trauma while
attending your University due to his exposure to anti-Semitic rhetoric on your campus. Mr.
N ahavandi has never before been exposed directly to this type of communications, and they
upset him a great deal and led to him sending some communications that he now regrets. At the
same time, however, your exclusive focus on punishing Mr. Nahavandi for sending emails
referring to his experience of anti-Semitism on your campus strikes me as questionable. In my
opinion, your resources could be better spent on taking meaningful action to curb open
expression of anti-Semitic hate speech on your campus, rather than seeking to mete out further
punishment to a student who was traumatized by exposure to such messages.

        In regard to the currently-scheduled Student Conduct Hearing, scheduled for June 15,
2023 at 1:00 p.m. PST via Zoom, I am aware that Mr. Nahavandi is not allowed to be
accompanied or represented by an attorney at the Student Conduct Hearing. While I have no
quarrel in general with the exclusion of attorneys from such proceedings at your university, I ask
that an exception be made in Mr. Nahavandi's case and that he be permitted to have me both
accompany and represent him at the Hearing. Without such an exception being granted, Mr.
N ahavandi will be unable to attend or meaningfully participate in the Conduct Hearing due to his
disability of severe anxiety, which substantially impairs his ability to represent his point of view
in an effective and organized manner in regard to a "high stakes" situation such as the proposed
Student Conduct Hearing.

        In either case, I request that the Student Conduct Hearing be rescheduled for now, to a
future date after a Manifestation Hearing has been carried out and a determination has been
reached as to whether manifestation of Mr. Nahavandi's disabilities was the proximate cause of
the incidents addressed by the Notice of Conduct Hearing.

        In addition to the demand for Manifestation Hearing, I further object to the proposed
Student Conduct Hearing on the grounds that there was no actual violation of the Student
Conduct Code, Title 5, California Code of Regulations Section 41301(b)(l5)(E), which is the
violation alleged in the Notice of Conduct Hearing. An actual violation of this provision of the
Code would require Mr. Nahavandi to have sent emails that rose to the level of being "obscene"
or "intimidating" or "abusive." In fact, however, I have reviewed the emails sent by Mr.
Nahavandi on the dates referenced in the Notice of Conduct Hearing, and none of the emails sent
by Mr. Nahavandi actually rise to the level of containing any sort of threatening, abusive or
obscene content.
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 100 of 117 Page
                                  ID #:751




       EXHIBITM
           Case 2:24-cv-03791-RGK-E                            Document 79-1 Filed 02/25/25                         Page 101 of 117 Page
                                                                      ID #:752




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E0) EDSS USDC FILING

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                DB
                 W
                   R DE PART M ENT of
                     REHABILITATION
                Employment, Independence & Equality
                                                                                                         [ Search
                                                                                                                                                 M
                Home      Get Start ed   About Us           Programs   I Am Interested In   Contact us



                                                                                                                            Q) Explore Your
                STUDENT WITH A DISABILITY                                                                                   Options

                Students with disabilities are a subset of youth with disabilities. A student                               Q) Ready to Work
                with a disability is an individual who meets the criteria listed below:
                                                                                                                            Q)Youth and
                  l. Is not younger than 16 or older than 21 years of age.
                                                                                                                            Families
                 2. Is enrolled in a recognized education program.
                                                                                                                            Q) Laws and
                 3. Is one or more of the following:
                                                                                                                            Regulations
                       1. Eligible for and receiving special education or related services under
                         the Individuals with Disabilities Education Act.

                       2. Eligible for and receiving accommodations under a 504 plan.                                 Contact
                       3. Has a physical or mental impairment that substantially limits one or
                         more major life activity, and has a record of or is regarded as having
                                                                                                                            Q) Find an Office
                         such an impairment.
                                                                                                                            Q) Youth Services
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 102 of 117 Page
                                  ID #:753




        EXHIBITN
     Case 2:24-cv-03791-RGK-E            Document 79-1 Filed 02/25/25            Page 103 of 117 Page
                                                ID #:754
November 20, 2023

Edwin N ahavandi
5710 Comanche Ave
Woodland Hills CA 91367

Thy Monaco
401 Golden Shore
Long Beach CA 90802

Via USPS / Certified Mail

RE: Notice of Claim

Dear Thy Monaco,

This letter serves as notice of my intent to file a lawsuit against California State University, Northridge in the
near future if I (Edwin Nahavandi) choose to. Notices are generally required in academic settings to meet the
criteria for filing a lawsuit. Please note that this is not a commencement of a lawsuit, but a condition that is
supposedly needed to be met to bring a lawsuit in the near future. Its purpose is to make you (Thy Monaco) and
the California State University on notice of the existence of these statements for the intent to bring a lawsuit
later on.

On the CSU Government Claims Complaint form, which will be sent to the California State University Office
of the Chancellor I have included approximately about 100 pages worth of documentation regarding California
State University, Northridge's negligence and discrimination towards me (Edwin Nahavandi).

The CSU Government Claims Complaint form briefly summarizes the date of the timeline, dollar amount of
claim, how the amount was calculated, the location of the incident, described the specific damage and injury,
explained the circumstances that led to the damage or injury, and explains why the CSU is responsible for the
damage and injury.

In other words, the specific damage or injury from California State University, Northridge's negligence and
discrimination is loss of government funds, loss of tuition funds, loss of benefits from services and personal
injuries, which include panic attacks, huge cyst growth with the recommendation of surgery, fatigue, emotional
distress, and insomnia, but not limited to other personal injuries.

The circumstances that led to the damage or injury was due to California State University, Northridge's
negligence because California State University, Northridge owed a duty of care, but breached it, which caused
personal injury that made me suffer damages, and discrimination towards my disability, religion, race, culture,
but not limited to other violations expressed in that documentation.

Sincerely, Edwin Nahavandi
                                              Notice of Claim
    Case 2:24-cv-03791-RGK-E         Document 79-1 Filed 02/25/25           Page 104 of 117 Page
                                            ID #:755
Subject: Notice of Claim
From: "Nahavandi, Edwin" <edwin.nahavandi.360@my.csun.edu>
Date: 11/20/2023, 10:16 PM
To: tmonaco@calstate.edu
CC: edwin.nahavandi@gmail.com

Hi Ms. Monaco

I have sent a notice of claim through priority certified mail, I wanted to give you an electronic copy of
the notice of claim as well.

Regards, Edwin

- Attachments: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

  Notice of Claim Thy.pdf                                                                       65.4 KB
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 105 of 117 Page
                                  ID #:756




        EXHIBITO
Civil Division I The False Claims Act                                                 https://www.justice.gov/civil/false-claims-act
               Case 2:24-cv-03791-RGK-E               Document 79-1 Filed 02/25/25   Page 106 of 117 Page
                                                             ID #:757




           The False Claims Act

           Many of the Fraud Section's cases are suits filed under the False Claims Act (FCA), 31 U.S.C.
           §§ 3729-3733, a federal statute originally enacted in 1863 in response to defense contractor
           fraud during the American Civil War.

           The FCA provides that any person who knowingly submits, or causes to submit, false claims
           to the government is liable for three times the government's damages plus a penalty that is
           linked to inflation. FCA liability can arise in other situations, such as when someone
           knowingly uses a false record material to a false claim or improperly avoids an obligation to
           pay the government. Conspiring to commit any of these acts also is a violation of the FCA.

           In addition to allowing the United States to pursue perpetrators of fraud on its own, the FCA
           allows private citizens to file suits on behalf of the government (called "qui tam" suits)
           against those who have defrauded the government. Private citizens who successfully bring
           qui tam actions may receive a portion of the government's recovery. Many Fraud Section
           investigations and lawsuits arise from such qui tam actions.

           The Department of Justice obtained more than $2.9 billion in settlements and judgments
           from civil cases involving fraud and false claims against the government in the fiscal year
           ending Sept. 30, 2024. More information about those recoveries can be found here and the
           2024 FCA statistics can be found here."



           Updated January 15, 2025




                                        [S:::J   U.S. Department of Justice
                                                 Civil Division
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 107 of 117 Page
                                  ID #:758




         EXHIBIT P
       Case 2:24-cv-03791-RGK-E                            Document 79-1 Filed 02/25/25                                Page 108 of 117 Page
                                                                  ID #:759
 STATE OF CALIFORNIA                                                                DOCUMENT NUMBER                                 AMENDMENT NUMBER
 DEPARTMENT OF REHABILITATION
 AUTHORIZATION AND INVOICE FOR DIRECT SERVICE                                                                                          I
 FEES                                                                               REGISTRATION NUMBER                             ISSUE DATE
 DR 297F (06/18)
                                                                                                                                       02/10/23
 DATES OF SERVICE

        01/23/23 TO 05/12/23
 TO: (VENDOR/CONTRACTOR'S NAME AND ADDRESS)
      CSU, Northridge - University Cash Services
      University Cash Services
                                                                                    -
                                                                                    COUNSELOR'S NAME




                                                                                    CONSUMER'S NAME, ADDRESS AND TELEPHONE
                                                                                    Nahavandi Edwin
                                                                                    5710 Comanche Ave
                                                                                                                                       -
                                                                                                                                    CASELOAD CODE




      18111 Nordhoff Street                                                         Woodland Hills, CA 91367
      Northridge, CA 91330                                                          (818) 569-9673
      (818) 677-3115

 DOR Use Only: CALIFORNIA STATE UNIVERSITY NORTHRIDGE

                                                                                                 SERVICE OF COSTS
                          DESCRIPTION OF SERVICES                                 l=======;==========~QTY                                      TOTAL AMOUNT
                                                                                      RATE           UNIT (HR, DAY, ETC)

95C                Four-Year College/University- Public:                                     $                                      1.00               $2,281.00
                   Tuition                                                         2,281.00
                   Spring 2023 Tuition
                   STUDENT ID: 200117248
                   Cost/DOR responsibility: $2,281.00

                   Graduate Tuition: $4,363.00
                   State University Grant: $2,082.00




95E                Four-Year College/University - Public:                          $ 219.61                                         1.00                  $ 219.61
                   Parking Fees
                   Parking for Spring 2023 term
                   Cost: $219.61
                                                                         TOTAL                                                                          $2,500.61

                                                                                    Consumer's name must appear on the invoice and services must be clearly itemized.
 SEND INVOICE/PROGRESS REPORT (DR226) TO:                                           Note: Invoices for training and private tuition must include a report of progress
                                                                                    priority to payment.
        DEPARTMENT OF REHABILITATION                                                General Terms and Conditions are incorporated by reference GTC-610 can be found
                                                                                    at:
        15400 SHERMAN WAY SUITE 140
                                                                                    https·//www des ca eov/OLS/Resources/Paee-Content/Office-of-Leeal-
        VAN NUYS, CA 91406                                                          Services-Resources-List-Folder/Standard-Contract-Language
===========================II Invoices are paid in accordance with the Prompt Payment Act
                                                                                    http://Jeginfo.legislature.ca.gov/faces/codes displaySection.xhtml?
                 DEPARTMENT CERTIFICATION AND APPROVAL                              lawCode=GOV&sectionNum=927 &hii:htii:ht=true&keyword=Prompt%20Payment
I HEREBY CERTIFY, upon my own personal knowledge that this authorization for
the vocational rehabilitation services specified above is issued in accordance with
the procedure prescribed by law governing the purchase ofsuch items for the State
of California; that all such legal requirements have been fully complied with; and
that budgeted fonds are available for the period and purpose of the expenditure     SIGNATURE OF VENDOR/CONTRACTOR
stated above.


 AUTHORIZED SIGNATURE                                                               VENDOR/CONTRACTOR TITLE                         DATE OF INVOICE
      Case 2:24-cv-03791-RGK-E                               Document 79-1 Filed 02/25/25                                   Page 109 of 117 Page
                                                                    ID #:760
STATE OF CALIFORNIA                                                                   DOCUMENT NUMBER                                     AMENDMENT NUMBER
DEPARTMENT OF REHABILITATION
AUTHORIZATION AND INVOICE FOR DIRECT SERVICE                                                                                                 I
FEES                                                                                                                                      ISSUE DATE
DR 297F (06/18)
                                                                                                                                             07/29/22
DATES OF SERVICE

       08/01/22 TO 12/26/22
TO:(VENDOR/CONTRACTOR'S NAME AND ADDRESS)
    CALIFORNIA STATE UNIVERSITY NORTHRlDGE
    STUDENT ACCOUNTING
                                                                                      CONSUMER'S NAME, ADDRESS AND TELEPHONE
                                                                                      Nahavandi Edwin
                                                                                      5710 Comanche Ave
                                                                                                                                             -
                                                                                                                                          CASELOAD CODE




    18111 NORDHOFF STREET                                                             Woodland Hills, CA 91367
    NORTHRlDGE, CA 91330                                                              (818) 569-9673
    (818) 677-4734

DOR Use Only: CALIFORNIA STATE UNIVERSITY NORTHRIDGE

                                                                                                     SERVICE OF COSTS
                          DESCRIPTION OF SERVICES                                                                                          QTY       TOTAL AMOUNT
                                                                                             RATE           UNIT (HR, DAY, ETC)

95C                Four-Year College/University- Public: Tuition                            $ 777.00                                        1.00                $ 777.00
                   Fall 2022

                   Student ID: -

                   Tuition and other Fees: . . .. $777.00
                                                                            TOTAL                                                                               $ 777.00

                                                                                          Consumer's name must appear on the invoice and services must be clearly itemized.
SEND INVOICE/PROGRESS REPORT (DR226) TO:                                                  Note: Invoices for training and private tuition must include a report of progress
                                                                                          priority to payment.
       DEPARTMENT OF REHABILITATION                                                       General Terms and Conditions are incorporated by reference GTC-610 can be found
                                                                                          at:
       15400 SHERMAN WAY SUITE 140
                                                                                          https-llwww des ca eov/OLS/Resources/Paee-Content/Office-of-Leeal-
       VANNUYS, CA 91406                                                                  Services-Resources-List-Folder/Standard-Contract-Lan~aee
===========================II Invoices are paid in accordance with the Prompt Payment Act
                                                                                          htt1r //leeinfo leejslature ca eov/faces/codes displaySection xhtml?
                 DEPARTMENT CERTIFICATION AND APPROVAL                                    lawCode=GOV&sectionNum=927 &hiehlieht=true&keyword=Prompt%20Payment
I HEREBY CERTIFY. upon my own personal knowledge that this authorization for
the vocational rehabilitation services specified above is issued in accordance with
the procedure prescribed by law governing the purchase ofsuch items for the State
of California; that all such legal requirements have been fully complied with; and
that budgeted funds are available for the period and purpose of the expenditure       SIGNATURE OF VENDOR/CONTRACTOR
stated above.


AUTHORIZED SIGNATURE                                                                  VENDOR/CONTRACTOR TITLE                             DATE OF INVOICE




SIGNATURE OF APPROVER FOR PAYMENT                    DATE OF APPROVAL
                                                                                      Vendor/Contractor Taxpayer Identification Number (TIN) is required on all
                                                                                      invoices.

REVOLVING FUND CHECK NUMBER                         AMOUNT OF CHECK ISSUED TIN                                                            INCORPORATED

                                                    $                                 -
                                                                                                                                           ✓ Yes
                                                                                                                                               No

                                                          DEPARTMENT USE ONLY



                                      -
                                                                                                             CASE            DATE OF                         CONTRACT/
                                                                       ACCOUNT
  DISTRICT          STATUS          CASELOAD              SSN                              AMOUNT           SERVICE          SERVICE       FISCAL YEAR         SPECIAL
                                                                        CODE
                                                                                                             CODE             MOYR                            PROGRAM

      •              Service
                                                                           •                    $777.00        -              08 2022        2022- 2023
      Case 2:24-cv-03791-RGK-E                               Document 79-1 Filed 02/25/25                                Page 110 of 117 Page
                                                                    ID #:761
STATE OF CALIFORNIA                                                                   DOCUMENT NUMBER                                  AMENDMENT NUMBER
DEPARTMENT OF REHABILITATION
AUTHORIZATION AND INVOICE FOR DIRECT SERVICE                                                                                              I
FEES                                                                                                                                   ISSUE DATE
DR 297F (06/18)
                                                                                                                                          08/ 17/22
DATES OF SERVICE

       08/15/22 TO 12/25/22
TO:(VENDOR/CONTRACTOR'S NAME AND ADDRESS)
    CALIFORNIA STATE UNIVERSITY NORTHRlDGE
    STUDENT ACCOUNTING
                                                                                      CONSUMER'S NAME, ADDRESS AND TELEPHONE
                                                                                      Nahavandi Edwin
                                                                                      5710 Comanche Ave
                                                                                                                                          -
                                                                                                                                       CASELOAD CODE




    18111 NORDHOFF STREET                                                             Woodland Hills, CA 91367
    NORTHRlDGE, CA 91330                                                              (818) 569-9673
    (818) 677-4734

DOR Use Only: CALIFORNIA STATE UNIVERSITY NORTHRIDGE

                                                                                                  SERVICE OF COSTS
                          DESCRIPTION OF SERVICES                                                                                       QTY       TOTAL AMOUNT
                                                                                         RATE            UNIT (HR, DAY, ETC)

95E                Four-Year College/University - Public:                                $ 219.61                                        1.00                  $ 219.61
                   Parking Fees
                   FALL2022

                   STUDENT ID: -
                                                                             TOTAL                                                                             $ 219.61

                                                                                      Consumer's name must appear on the invoice and services must be clearly itemized.
SEND INVOICE/PROGRESS REPORT (DR226) TO:                                              Note: Invoices for training and private tuition must include a report of progress
                                                                                      priority to payment.
       DEPARTMENT OF REHABILITATION                                                   General Terms and Conditions are incorporated by reference GTC-610 can be found
                                                                                      at:
       15400 SHERMAN WAY SUITE 140
                                                                                      https·//www di:s ca i:ov/OLS/Resources/Pai:e-Content/Office-of-Lei:aJ-
       VANNUYS, CA 91406                                                              Seryjces-Resources-List-FoJder/Standard-Contract-Lan1P,Ja1:e
===========================II Invoices are paid in accordance with the Prompt Payment Act
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                 DEPARTMENT CERTIFICATION AND APPROVAL                                JawCode=GOV&sectionNum=927 &hii:hlii:ht=true&keyword=Prompt%20Payment
I HEREBY CERTIFY, upon my own personal knowledge that this authorization for
the vocational rehabilitation services specified above is issued in accordance with
the procedure prescribed by law governing the purchase ofsuch items for the State
of California; that all such legal requirements have been fully complied with; and
that budgeted fonds are available for the period and purpose of the expenditure       SIGNATURE OF VENDOR/CONTRACTOR
stated above.


AUTHORIZED SIGNATURE                                                                  VENDOR/CONTRACTOR TITLE                          DATE OF INVOICE




SIGNATURE OF APPROVER FOR
                                                    DATE OF APPROVAL
PAYMENT                                                                               Vendor/Contractor Taxpayer Identification Number (TIN) is required on all
                                                                                      invoices.


REVOLVING FUND CHECK NUMBER                        AMOUNT OF CHECK ISSUED
                                                   $




                                                          DEPARTMENT USE ONLY
                                                                                      -
                                                                                      TIN                                              INCORPORATED
                                                                                                                                        ✓ Yes
                                                                                                                                            No




                                      -
                                                                                                          CASE            DATE OF                         CONTRACT/
                                                                       ACCOUNT
  DISTRICT          STATUS          CASELOAD              SSN                          AMOUNT            SERVICE          SERVICE       FISCAL YEAR         SPECIAL
                                                                        CODE
                                                                                                          CODE             MOYR                            PROGRAM

      •              Service
                                                                           •                 $219.61
                                                                                                            •              08 2022        2022- 2023
        Case 2:24-cv-03791-RGK-E                      Document 79-1 Filed 02/25/25                              Page 111 of 117 Page
                                                             ID #:762




 lm'JNorthridge


p SOI.AR SA                  Edllt'll Nahavand,                                                     ) i!O 10

P Manage Con ten t
~ Content Management
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                              Spring Sem8:SUl1 2023 rorm A'H111d Det11II

                                SprillO Seme$tef 202.l                       view SehedlJIS:d Olsbursemen1 Dates
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                                fan Seme$ter 2022                            VlewSChe-dlJltdOisbursemern D:t.es
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                                 Sta!t U'l!Ytrs(J Grant      Ciani                    3,588 QI)                J 588 00
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       Case 2:24-cv-03791-RGK-E      Document 79-1 Filed 02/25/25    Page 112 of 117 Page
                                            ID #:763




Fall Semester    Student
                                                  $2 . 00                         04/ 18/ 2022
2022             Representati on Fee
Fall Semester    Tuition and other
                                             $4 , 4-88.00                         04/ l.8/ 2022
2022             Fe es
Farl Semester    Tuition an d   Other
                                                              $1.25 . 00          05/ 2 6 / 2022
2022             Fees
Fall Semester    State Univ ersity
                                                            $2, 082.00            08/ 26/ 2022
2022             Grant
FaD Se.me.ster   CC HOUSING
                                                                                  09/ l. l. / 2022
2022             I N ITIAL PAYMENT
Fall Semester    Housing I nitia l
2022                                            $ 50 .00                          09/ 1. 1./ 2022
                 Ch arge
Fall Semester
                 Housing                     $4, 476 .33                          09/ 15/ 2022
2022
Fall Semester    DL Unsubsidized
                                                            $7 , 235.00           09/ 23/ 2022
2022             Loan l.
Fall Semester    FI NANCIAL AID
2022                                           $475 . 67                          09/ 26/ 2022
                 BALANCE CHECK
Fall Semester
                 Pa r king                     $21.9.61                           09/ 26/ 2022
2022
Fall Sem ester   VAN NUYS V R    PKG                          $21.9.61.           09/ 26/ 2022
2022

Fall Semester    VAN NUYS VR TUI                              $777 . 00           09/ 26/ 2022
2022
Fall S-mester    FI NANCIAL A ID
                                               $777 .00                           09/ 28/ 2022
2022             BALANCE CHECK

Fall Semester    VAN NUYS VR TUI                            $1 , 390 . 00         1.1./ 03/ 2022
2022
     Case 2:24-cv-03791-RGK-E        Document 79-1 Filed 02/25/25    Page 113 of 117 Page
                                            ID #:764




Spring
              Tuition al"ld other
Semester                                     $4. 363 . 00                         01/ 20/ 2023
2,023         Fees

Spring
Semester      Housfl"lg                                     $3 , 2.34.7 3         DJ./ 2 6/202.3
2012'3
Spring,
              DL Unsuhsidize,d
s~'e:Ster                                                   $4,437. 00            01/ 2-7/ 2023
              Loan 1
21023
Spring
              State Uni v ersiti,r
Seruestel'                                                  $2., 082. 00          01/ 27/ 2023
              Grant
2023
Case 2:24-cv-03791-RGK-E   Document 79-1 Filed 02/25/25   Page 114 of 117 Page
                                  ID #:765




                           Moving Party's

                           EXHIBIT J
Case 2:24-cv-03791-RGK-E                 Document 79-1 Filed 02/25/25                 Page 115 of 117 Page
                                                ID #:766

  From:            Edwin Nahavaodi
  To:              Cristina Matsushima; Beniamio G. Piehl
  Subject:         Re: Nahavandi v. CSU - Joint Stipulation - Request for signature
  Date:            Tuesday, February 25, 2025 3:36:11 AM


               AIL: This message was sent from outside DOJ. Please do not click links or open attachments that


  Benjamin G. Diehl and Cristina Matsushima,

  I ask that when I do get killed, when they kill me, to tell the truth about why I died, and to
  please not deny that the State was involved in my death, after they kill me. I just wanted to
  protect my Jewish people, please don't allow them to kill me. I'm just upset that I'm going to
  die, it hurts. It's not right for the State to threaten to kill me, neither is it right to protect the
  State who threatens to kill me. I'm tired, I can't sleep, I had several nightmares of getting shot
  and killed and stabbed to death because of these threats to kill me. I'm afraid of dying, and I'm
  scared to death, I don't want to die. Playing with someone's life and threatening to kill them is
  wrong, your federal department should care about a Jewish persons life. Killing someone over
  this will only cause more fear to my community. If they chose to kill me for standing up, then
  let it only be me that dies, not my people. Please tell them, it's okay if they want to kill me,
  just don't kill my people, I don't want them to be in danger. Tell them to just kill me, even if it
  means that I will be killed for this.


  On Mon, Feb 24, 2025, 6:33 PM Cristina Matsushima <Cristina.Matsushima@doj.ca.gov>
  wrote:

    Mr. Nahavandi,



    Pursuant to Local Rule 37-2.2, I have added the following language to the "Opposing
    Party's Position" section of the Joint Statement: "Plaintiff provided his response in a
    separate

    document. See Matsushima Deel., ,r 18, Ex. I." I will attach your Response (served
    2/20/2025) to my declaration as Exhibit I. I have included a redlined version of the Joint
    Stipulation for ease of review.



    Pursuant to LR 37-2.2, please sign, date, and return the clean copy by 7:00 p.m. tomorrow. I
    only need the executed signature page. Alternatively, please let me know whether I can add
    your electronic signature by 7:00 p.m. tomorrow.



    Thank you.



    CRISTINA M. MATSUSHIMA
Case 2:24-cv-03791-RGK-E          Document 79-1 Filed 02/25/25          Page 116 of 117 Page
                                         ID #:767


   Deputy Attorney General

   California Department of Justice

   Office of the Attorney General

   300 South Spring Street. Suite 1702

   Los Aof;eles. California .90013.

   Tel : (213) 269-6218

   Fax: (916) 731-2125

   cristina.matsushima@doj.ca.goy




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   confidential and/or legally privileged information. It is solely for the use of the intended
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   violate applicable laws including the Electronic Communications Privacy Act. If you are not
   the intended recipient, please contact the sender and destroy all copies of the
   communication.
Case 2:24-cv-03791-RGK-E             Document 79-1 Filed 02/25/25           Page 117 of 117 Page
                                            ID #:768




                                   CERTIFICATE OF SERVICE
 Case Name:        Nahavandi v. Board of                  No.    2:24-cv-03791 RGK(Ex)
                   Trustees of the CSU

 I hereby certify that on February 25, 2025, I electronically filed the following documents with
 the Clerk of the Court by using the CM/ECF system:


  DECLARATION OF CRISTINA M. MATSUSHIMA IN SUPPORT OF DEFENDANT’S
    MOTION FOR SANCTIONS AND RE PLAINTIFF’S FAILURE TO SIGN JOINT
                            STIPULATION
 Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
 I am employed in the Office of the Attorney General, which is the office of a member of the
 California State Bar at which member's direction this service is made. I am 18 years of age or
 older and not a party to this matter. I am familiar with the business practice at the Office of the
 Attorney General for collection and processing of correspondence for mailing with the United
 States Postal Service. In accordance with that practice, correspondence placed in the internal
 mail collection system at the Office of the Attorney General is deposited with the United States
 Postal Service with postage thereon fully prepaid that same day in the ordinary course of
 business.
 I further certify that some of the participants in the case are not registered CM/ECF users. On
 February 25, 2025, I have caused to be mailed in the Office of the Attorney General's internal
 mail system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched
 it to a third party commercial carrier for delivery within three (3) calendar days to the following
 non-CM/ECF participants:


 Edwin Nahavandi
 5710 Comanche Ave.
 Woodland Hills, CA. 91367
 edwin.nahovandi@gmail.com


 I declare under penalty of perjury under the laws of the State of California and the United States
 of America the foregoing is true and correct and that this declaration was executed on February
 25, 2025, at Los Angeles, California.


                 Cecilia Apodaca                                 /s/ Cecilia Apodaca
                    Declarant                                         Signature

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